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11                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12                                 SAN FRANCISCO DIVISION
13
     IN RE CATHODE RAY TUBE (CRT)                    Case No. 13-cv-05668-SC
14   ANTITRUST LITIGATION
                                                  Master File No. 3:07-cv-05944-SC
15   This Document Relates To Individual Case No.
     13-cv-05668-SC                               MDL No. 1917
16
     SCHULTZE AGENCY SERVICES, LLC on
17   behalf of TWEETER OPCO, LLC and                 FIRST AMENDED COMPLAINT
     TWEETER NEWCO, LLC,
18                                                   JURY TRIAL DEMANDED
              Plaintiffs,
19
        vs.
20
     TECHNICOLOR SA (f/k/a THOMSON SA),              REDACTED VERSION OF DOCUMENT
21   TECHNICOLOR USA, INC. (f/k/a                    SOUGHT TO BE PARTIALLY SEALED
     THOMSON CONSUMER ELECTRONICS,
22   INC.), VIDEOCON INDUSTRIES, LTD.,
     TECHNOLOGIES DISPLAYS AMERICAS
23   LLC (f/k/a THOMSON DISPLAYS
     AMERICAS LLC), MITSUBISHI ELECTRIC
24   CORPORATION, MITSUBISHI ELECTRIC
     VISUAL SOLUTIONS AMERICA, INC., and
25   MITSUBISHI ELECTRIC & ELECTRONICS
     USA, INC.,
26
              Defendants.
27

28
                                                                                  Case No. 13-cv-05668-SC
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 1          Plaintiff Schultze Agency Services, LLC (“Schultze Agency Services”) on behalf of
 2   Tweeter Opco, LLC (“Tweeter Opco”) and Tweeter Newco, LLC (“Tweeter Newco”)
 3   (collectively, “Plaintiff”), for its Complaint against all Defendants named herein, hereby alleges
 4   as follows:
 5   I.     INTRODUCTION
 6          1.      Plaintiff brings this action to recover those damages to Tweeter Home
 7   Entertainment Group, Inc. and its affiliated companies (“Tweeter”) caused by a long-running
 8   conspiracy extending from at least March 1, 1995, through at least November 25, 2007 (the
 9   “Relevant Period”), conducted by an international cartel formed by Defendants and their co-
10   conspirators. The purpose and effect of this conspiracy was to fix, raise, stabilize and maintain
11   prices for cathode ray tubes (“CRTs”).
12          2.      Defendant Technicolor SA, which during the Relevant Period was known as
13   Thomson SA, has admitted that it participated in the conspiracy to fix the prices of CRTs. In
14   its 2011 Annual Report to shareholders, Technicolor SA stated that it “played a minor role in
15   the alleged anticompetitive conduct [regarding CRTs].”            While Plaintiff disputes that
16   Technicolor SA’s role in the conspiracy was minor, whatever that may mean, and believes that
17   discovery in this case to date has demonstrated and further discovery will demonstrate
18   Technicolor SA’s role was substantial, there is no dispute that Technicolor SA participated in
19   fixing the prices of CRTs. Following an investigation lasting four years, in December 2012 the
20   European Commission levied a fine of €38.6 million against Technicolor SA for participating
21   in a conspiracy to fix CRT prices. In its 2012 Annual Report, Technicolor SA acknowledged
22   that “[f]ollowing the European Commission decision, purchasers may bring individual claims
23   against the Company seeking compensation for alleged loss suffered as a result of the anti-
24   competitive conduct.”
25          3.      Defendants and their co-conspirators are or were among the leading
26   manufacturers of: (a) color picture tubes (“CPTs”), which are CRTs used primarily in color
27   televisions; (b) color display tubes (“CDTs”), which are CRTs used primarily in color computer
28   monitors; and (c) electronic devices containing CPTs (such as televisions) or CDTs (such as
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 1   computer monitors). For the purposes of this Complaint, CPTs of all sizes and the products
 2   containing them shall be referred to collectively as “CPT Products.” Also for the purposes of
 3   this Complaint, CDTs of all sizes and the products containing them shall be referred to as “CDT
 4   Products.” CDT Products and CPT Products shall be referred to collectively herein as “CRT
 5   Products.”
 6           4.         During the Relevant Period, Defendants and their co-conspirators controlled the
 7   majority of the CRT industry, a multibillion dollar market, which in 1999 alone generated over
 8   $19 billion dollars in gross revenue. During the Relevant Period, virtually every household in
 9   the United States owned at least one CRT Product.
10           5.         Since the mid-1990s, the CRT industry faced significant economic pressures as
11   customer preferences for other emerging technologies shrank profits and threatened the
12   sustainability of the industry. In order to maintain price stability, increase profitability, and
13   decrease the erosion of pricing in the CRT market, Defendants and their co-conspirators
14   conspired, combined and contracted to fix, raise, maintain and stabilize the price at which CRTs
15   were sold in the United States.
16           6.         With respect to CRTs, Defendants, their co-conspirators and/or their agents
17   agreed, inter alia, to: (a) fix target prices and price guidelines; (b) exchange pertinent
18   information on, inter alia, shipments, prices, production and customer demand; (c) coordinate
19   public statements regarding available capacity and supply; (d) resolve issues created by
20   asymmetrical vertical integration among some of the co-conspirators; (e) keep their collusive
21   meetings secret; (f) expose cheating on the agreements and to discuss the reconciliation of
22   accounts; (g) allocate market share of overall sales; (g) influence and, at times, coordinate
23   pricing with producers in other geographic areas; (h) limit competition for certain key customers;
24   (i) allocate customers; (j) allocate each producer’s share of certain key customers’ sales; and (k)
25   restrict output.
26           7.         The conspiracy concerning CRTs commenced with bilateral meetings that began
27   in at least March of 1995 and continued throughout the Relevant Period. Also beginning in
28   1995, the co-conspirators began to engage in informal group meetings. By 1997, these group
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 1   meetings had become more formalized, as described in greater detail below. There were at least
 2   500 conspiracy meetings during the Relevant Period, including hundreds of group meetings and
 3   hundreds of bilateral meetings. These meetings occurred in various locales, including Taiwan,
 4   South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the U.K., Europe, and the United
 5   States.    These meetings included representatives from the highest levels of the respective
 6   companies, as well as regional managers and others.
 7             8.    During the Relevant Period, the conspiracy affected billions of dollars of
 8   commerce throughout the United States.
 9             9.    This conspiracy is being investigated by the United States Department of Justice
10   (“DOJ”) and by multiple foreign competition authorities, including the European Commission,
11   the Korean Fair Trade Commission, and the Japan Fair Trade Commission. Technicolor USA,
12   Inc. (f/k/a Thomson Consumer Electronics, Inc.) was subpoenaed by the DOJ in connection with
13   its investigation of CRT price-fixing. Technicolor SA is the subject of an investigation by the
14   Mexican Federal Competition Commission, and its affiliate in Brazil is under investigation by
15   the Brazilian Ministry of Justice for fixing the prices of CRTs. The first participant to be
16   indicted by the DOJ was C.Y. Lin, the former Chairman and CEO of co-conspirator Chunghwa
17   Picture Tubes, Ltd., who had a two-count indictment issued against him by a federal grand jury
18   in San Francisco on February 10, 2009. Since then, five more individuals have been indicted in
19   connection with Defendants’ CRT price-fixing conspiracy.
20             10.   In March 2011, co-conspirator Samsung SDI Company, Ltd. (“Samsung SDI”)
21   pleaded guilty to fixing the prices of CDTs during at least the nine-year period from January
22   1997 to March 2006. Samsung SDI paid a criminal fine to the United States of $32 million. The
23   conspiracy to which Samsung SDI pleaded guilty was agreeing with its competitors and co-
24   conspirators to raise the prices of CDTs, to reduce output of CDTs, and to allocate target market
25   shares for the CDT market overall and for certain customers.
26             11.   During the Relevant Period, Plaintiff purchased CRT Products in the United
27   States and elsewhere directly and indirectly from Defendants, and/or Defendants’ subsidiaries
28   and affiliates and/or any agents Defendants or Defendants’ subsidiaries and affiliates controlled.
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 1   Plaintiff thus suffered damages as a result of Defendants’ conspiracy, and brings this action to
 2   recover the overcharges paid for the CRT Products containing price-fixed CRTs it purchased
 3   during the Relevant Period.
 4          12.     This case is related to and concerns the same anti-competitive conspiracy and
 5   many of the same transactions and events that are presently pending in Schultze Agency Services,
 6   LLC v. Hitachi, Ltd., et al., Individual Case No. 1:11-cv-05529-BMC, filed in this Court and
 7   presently pending before the Honorable Samuel Conti in the Northern District of California
 8   (Individual Case No. 3:12-cv-02649-SC, Master File No. 3:07-cv-05944-SC, MDL No. 1917).
 9   Both this case and Schultze Agency Services, LLC v. Hitachi, Ltd., et al. are suits for damages
10   arising out of the conspiracy to fix the prices of and restrain competition for CRTs in violation of
11   the federal antitrust laws and state antitrust and unfair competition laws.
12   II.    JURISDICTION AND VENUE
13          13.     Plaintiff brings this action to obtain injunctive relief under Section 16 of the
14   Clayton Act; and to recover damages, including treble damages under Section 4 of the Clayton
15   Act, costs of suit and reasonable attorneys’ fees arising from Defendants’ violations of Section 1
16   of the Sherman Act (15 U.S.C. § 1).
17          14.     Plaintiff also brings this action pursuant to Massachusetts General Laws, chapter
18   93A. for injunctive relief and damages that Plaintiff sustained due to Defendants’ and their co-
19   conspirators’ violation of Mass. Gen. Laws ch. 93A, §§ 2, et seq., because Plaintiff purchased
20   CRT Products from non-defendant vendors which contained price-fixed CRTs manufactured by
21   Defendants and their co-conspirators in Massachusetts.
22          15.     The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of the
23   Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331 and 1337. The Court has
24   supplemental jurisdiction over Plaintiff’s Massachusetts state law claims under 28 U.S.C. § 1367
25   because they arise from the same nucleus of operative facts alleged in this Complaint. Plaintiff’s
26   state law claims are so related to its claims under Section 1 of the Sherman Act that they form
27   part of the same case or controversy.
28          16.     The activities of Defendants and their co-conspirators, as described herein,
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 1   involved U.S. import trade or commerce and/or were within the flow of, were intended to, and
 2   did have a direct, substantial and reasonably foreseeable effect on Unites States domestic and
 3   import trade or commerce. This effect gives rise to Plaintiff’s antitrust claims. During the
 4   Relevant Period, Defendants’ conspiracy affected the price of CRT Products purchased in the
 5   United States. In particular, Defendants’ and their co-conspirators’ conspiracy directly and
 6   substantially affected the price of CRT Products purchased by Plaintiff in Massachusetts.
 7           17.     This court has jurisdiction over each Defendant named in this action under
 8   Section 12 of the Clayton Act (15 U.S.C. § 22). Defendants and their co-conspirators purposely
 9   availed themselves of the laws of the United States as they manufactured CRT Products for sale
10   in the United States, or CRTs which were incorporated into CRT Products Defendants and their
11   co-conspirators knew would be sold to customers in the United States. Defendants’ and their co-
12   conspirators’ conspiracy affected this commerce in CRT Products in the United States.
13           18.     Venue is proper in the Eastern District of New York under Section 12 of the
14   Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391 because each Defendant is either an alien
15   corporation, transacts business in this District, or is otherwise found within this District. In
16   addition, venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of the
17   events or omissions giving rise to this claim occurred in this District. Defendants and their co-
18   conspirators knew that CRT Products containing price-fixed CRTs would be sold and shipped
19   into this District.
20   III.    PARTIES
21           A.      Plaintiff
22           19.     Through the conclusion of Defendants’ and the co-conspirators’ conspiracy,
23   Tweeter was headquartered in Massachusetts and operated as a regional retailer of consumer
24   electronics and operated dozens of stores in several states under the names Tweeter, Sound
25   Advice, HiFi Buys and Showcase Home Entertainment primarily in states along the east coast
26   and in Texas, Arizona, and Illinois.
27           20.     On June 11, 2007, Tweeter commenced cases in the United States Bankruptcy
28   Court for the District of Delaware under Chapter 11 of the Bankruptcy Code. In re Tweeter
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 1   Home Entertainment Group, Inc. et al., Case No. 07-10787 (PJW) (Jointly Administered). On
 2   July 13, 2007, the Court entered an Order (1) Approving Sale of Substantially All of Debtors’
 3   Assets Free and Clear of All Liens, Claims, Interests and Encumbrances; (2) Approving
 4   Assumption and Assignment of Certain Contracts and Leases; and (3) Granting Related Relief
 5   (the “Sale Order”), which authorized the sale of substantially all the assets of Tweeter, including
 6   the causes of action alleged herein, to Tweeter Newco and/or its assignees (the “Sale”). The Sale
 7   was closed on or about July13, 2007.
 8          21.     Tweeter Newco is the sole member and owner of Tweeter Opco. Both were
 9   formed by Schultze Asset Management in 2007 for the purpose of purchasing the assets of
10   Tweeter pursuant to the Sale Order and the Court approved Asset Purchase Agreement (the
11   “APA”). Pursuant to Section 2 of the APA, Tweeter Newco purchased “any rights, claims or
12   causes of action of Sellers against third parties relating to the Purchased Assets arising out of
13   events occurring prior to the Closing Date.”
14          22.     On November 5, 2008, Tweeter Opco and Tweeter Newco commenced cases in
15   the United States Bankruptcy Court for the District of Delaware under Chapter 11 of the
16   Bankruptcy Code.     In re Tweeter Opco, LLC, et al., Case No. 08-12646 (MFW) (Jointly
17   Administered). On December 5, 2008, the Court issued an Order Converting the Debtors’
18   Chapter 11 Bankruptcy Cases to Cases Under Chapter 7 of the Bankruptcy Code.
19          23.     Schultze Agency Services is the agent bank for certain lenders which provided
20   secured financing to Tweeter Opco and Tweeter Newco pursuant to a credit agreement dated as
21   of August 28, 2008 by and between Tweeter Newco and its affiliates as borrowers and Schultze
22   Agency Services as agent for the lenders. On March 23, 2009, the Court in the Tweeter Opco
23   bankruptcy issued an order compelling the chapter 7 bankruptcy trustee to abandon certain of the
24   estates’ assets to Schultze Agency Services, including the claims alleged in this complaint.
25   Accordingly, Schultze Agency Services is entitled to bring all claims and rights under federal
26   and state law to recover any overcharges suffered by Tweeter Home Entertainment Group, Inc.
27   and its subsidiaries, affiliates and predecessors, including, but not limited to: NEA Delaware,
28   Inc.; New England Audio Co., Inc.; Bryn Mawr Radio and Television, Inc.; HiFi Buys
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 1   Incorporated; Home Entertainment of Texas, Inc.; DOW Stereo/Video, Inc.; United Audio
 2   Centers, Inc.; Douglas T.V. & Appliance, Inc. and Douglas Audio Video Centers, Inc.; The
 3   Video Scene, Inc. d/b/a Big Screen City; SMK Marketing, Inc. d/b/a Audio Video Systems;
 4   Sound Advice, Inc. d/b/a Sound Advice and Showcase Home Entertainment; Hillcrest High
 5   Fidelity, Inc.; and Sumarc Electronics Incorporated d/b/a NOW! Audio Video.
 6          24.     During the Relevant Period, Tweeter purchased CRT Products directly from the
 7   Defendants, and/or the Defendants’ subsidiaries and affiliates and/or any agents the Defendants
 8   or Defendants’ subsidiaries and affiliates controlled. Tweeter also purchased CRT Products from
 9   original equipment manufacturers (“OEMs”), as well as other suppliers, which contained CRT
10   panels that had been purchased from Defendants and their co-conspirators. As such, Tweeter
11   suffered injury as a result of Defendants’ and co-conspirators’ unlawful conduct.
12          25.     During the Relevant Period, Tweeter’s negotiations for the purchase of CRT
13   Products took place in the United States and were controlled by a department based at the
14   company’s headquarters in Massachusetts. In addition, Tweeter’s purchase orders for CRT
15   Products were issued from Massachusetts, invoices for these CRT Products were sent to Tweeter
16   in Massachusetts, and payments for these CRT Products were issued from Massachusetts.
17   Tweeter employees based in Massachusetts were also responsible for selecting vendors and
18   product lines with respect to CRT Products.
19          B.      Defendants
20                  1.     Thomson Entities
21          26.     Defendant Thomson SA (now known as Technicolor SA) (“Thomson SA”) is a
22   French Corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc 92130
23   Issy-les-Moulineaux, France. Thomson SA, on its own or through its wholly owned subsidiary
24   Thomson Consumer Electronics, Inc., and other subsidiaries, was a major manufacturer of CRTs
25   for the United States market, with plants located in the United States, Mexico, China and Europe.
26   Thomson SA sold its CRTs internally to its television-manufacturing division, which had plants
27   in the United States and Mexico, and to other television manufacturers in the United States and
28   elsewhere. For much of the Relevant Period, the television manufacturing division of Thomson
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 1   SA manufactured and sold in the United States CRT televisions under the RCA and GE brands.
 2   In July 2005, Thomson SA sold its CRT business to defendant and co-conspirator Videocon
 3   Industries, Ltd. for €240 million. Simultaneously, Thomson SA invested a total of €240 million
 4   in Videocon, comprised of a €225 million investment in Videocon Industries, Ltd. and a €15
 5   million investment in Videocon International, and acquired 13.1% of Videocon Industries, Ltd.
 6   The agreement with Videocon provided that Thomson management would help Videocon run the
 7   CRT business during the transition period and beyond. Videocon and Thomson also agreed to
 8   set up Preferred Supplier Agreements for Thomson’s display components business. Thomson
 9   SA also received at least one seat on Videocon’s board of directors when it invested in Videocon
10   Industries, Ltd.   Thomson SA maintained at least a 10% ownership interest in Videocon
11   Industries, Ltd. for the remainder of the Relevant Period.     In January 2010, Thomson SA
12   changed its name to Technicolor SA. During the Relevant Period, Thomson SA manufactured,
13   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
14   affiliates, to customers throughout the United States.
15          27.     Defendant Thomson Consumer Electronics, Inc. (now known as Technicolor
16   USA, Inc.) (“Thomson Consumer”) is a United States corporation with its principal place of
17   business located at 10330 N Meridian St., Indianapolis, Indiana 46290-1024.                Thomson
18   Consumer is a wholly owned subsidiary of Thomson SA and was Thomson SA’s primary
19   subsidiary for the manufacture and sales of CRTs in the United States during the Relevant
20   Period. Thomson Consumer was a major manufacturer of CRTs for the United States market,
21   with plants located in Scranton, Pennsylvania; Marion, Indiana; and Mexicali, Mexico.
22   Thomson Consumer sold its CRTs to television manufacturers in the United States, Mexico and
23   elsewhere.   Thomson Consumer’s CRT business was sold by its parent Thomson SA to
24   Videocon Industries, Ltd. in 2005. Simultaneously, Thomson Consumer’s parent company
25   Thomson SA invested €240 million into Videocon Industries, Ltd. and obtained 13.1%
26   ownership of Videocon Industries, Ltd.        Thomson SA also received at least one seat on
27   Videocon’s board of directors when it invested in Videocon Industries, Ltd. The agreement with
28   Videocon provided that Thomson management would help Videocon run the CRT business
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 1    during the transition period and beyond. Videocon and Thomson also to set up Preferred
 2    Supplier Agreements for Thomson’s displays components businesses. Thomson SA maintained
 3    at least a 10% ownership interest in Videocon Industries, Ltd. throughout the Relevant Period.
 4    Thomson Consumer was a parent corporation of its wholly owned subsidiary, Thomson Displays
 5    Americas LLC (now known as Technologies Displays America, LLC).                     In January 2010,
 6    Thomson Consumer Electronics, Inc. changed its name to Technicolor USA, Inc. During the
 7    Relevant Period, Thomson Consumer manufactured, marketed, sold and/or distributed CRT
 8    Products either directly or through its subsidiaries or affiliates throughout the United States.
 9           28.     Defendant Thomson SA had sufficient minimum contacts with the United States
10    during the Relevant Period for it to be subject to personal jurisdiction in the United States.
11    Thomson SA purposefully availed itself of the United States market for CRTs and CRT
12    products. Thomson SA fixed prices and constrained competition on CRTs it and its wholly
13    owned subsidiary in the United States, Thomson Consumer, sold in the United States. Thomson
14    SA had significant contacts with the United States, and it dominated and/or controlled the
15    finances, policies, and/or affairs of its U.S.-based subsidiary, Thomson Consumer, relating to the
16    antitrust violations alleged in this Complaint. During the Relevant Period, Thomson SA was a
17    large multinational industrial and technology company.          Thomson SA was neither a mere
18    holding company nor a corporate shell, and its subsidiaries, including Thomson Consumer, were
19    more than simple investment mechanisms for diversifying risk. Thomson SA had a controlling
20    role in the operation of its subsidiaries and exercised a central management function over its
21    subsidiaries, including Thomson Consumer, which served the function of servicing the pivotal
22    U.S. CRT market. During the Relevant Period, between 40-50% of Thomson SA’s revenues
23    were derived from the United States, and Thomson SA’s CEO described the United States as
24    Thomson SA’s most important market. Thomson SA managed its business centrally, including
25    that of U.S. subsidiary Thomson Consumer, and its management and board of directors set its
26    policies and direction. Thomson SA employees oversaw the United States profits and losses
27    associated with Thomson Consumer’s high-end and value TV businesses. Thomson SA also was
28    involved in planning and purchasing discussions with U.S. CRT customers, Thomson SA had to
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 1    approve the purchases made by U.S. customers, and Thomson SA was involved in CRT
 2    production and pricing discussions relating to CRTs manufactured in Mexico for the North
 3    American market. During the Relevant Period, many Thomson SA executives also served as
 4    executives and/or board members of Thomson Consumer, and Thomson Consumer executives
 5    served as executive officers of or directors of Thomson SA, including the Chairman and CEO of
 6    Thomson SA who simultaneously served as the President and CEO of Thomson Consumer, and
 7    thereafter as the Chairman of Thomson Consumer:
 8    Name                     Role with Thomson SA               Role with Thomson Consumer
      Thierry Breton           Chairman and CEO (1997-2001);      President & CEO (1997-2000);
 9                             Member, Board of Directors         Chairman (1997-2001)
                               (2002-2005)
10
      Olivier Mallet           Senior Vice President, Finance     Director (1999-2000)
11                             (1996-2000)
      Charles Dehelly          Senior Executive Vice President    Director (2002-2003)
12                             (1998-2000); Senior Executive
                               Vice President and COO (2001);
13                             CEO (2002-2004)
14    Julian Waldron           Senior Executive Vice President,   Director (2001-2007)
                               CFO (2001-2007); Interim CEO
15                             and Senior Executive Vice
                               President, CFO (2007-2008)
16    Frederic Rose            CEO (2008-present)                 Chairman (2012-present)
17    Moreover, numerous other Thomson SA “Executive Officers” had operational responsibilities in
18    the United States:     Jim Meyer was Senior Executive Vice President of SBUs Americas,
19    Multimedia Products and New Media Services; Al Arras was Executive Vice President of SBU
20    Audio and Communications; Michael O’Hara was Senior Vice President of SBU Americas; and
21    Enrique Rodriguez was Vice President of SBU Multimedia Products. All were stationed at
22    Thomson Consumer in Indianapolis, Indiana.
23           29.       Thomson SA and Thomson Consumer are collectively referred to herein as
24    “Thomson.”
25                     2.     Videocon
26           30.       Defendant Videocon Industries, Ltd. (“Videocon”) is an Indian corporation with
27    its principal place of business located at Aurangabad Paithan Road 14, KM Stone, Chitegaon,
28    Aurangabad 431005, India. In 2005, Videocon acquired Thomson’s CRT business for €240
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 1    million, which included facilities and personnel in the United States, Poland, Italy, Mexico and
 2    China. The deal for Videocon to acquire Thomson SA’s CRT business was completed through a
 3    special purpose vehicle, Eagle Electronics.       At the same time that Videocon purchased
 4    Thomson’s CRT business, Thomson SA invested a total of €240 million in Videocon, comprised
 5    of a €225 million investment in Videocon Industries, Ltd. and a €15 million investment in
 6    Videocon International, and acquired 13.1% of Videocon Industries, Ltd. The agreement with
 7    Videocon provided that Thomson management would help Videocon run the CRT business
 8    during the transition period and beyond. Videocon and Thomson also set up Preferred Supplier
 9    Agreements for Thomson’s displays components businesses. Thomson SA maintained at least a
10    10% ownership interest in Videocon throughout the Relevant Period. Thomson SA also received
11    one or more seats on Videocon’s board of directors when it invested in Videocon. Videocon’s
12    purchase of Thomson’s CRT business included acquisition of Thomson Displays Americas LLC
13    (now known as Technologies Displays Americas, LLC) and its Mexican subsidiary, Thomson
14    Displays Mexicana, S.A. de C.V. (now known as Technologies Displays Mexicana, S.A. de
15    C.V.), including their facilities and personnel located in the United States, through Videocon’s
16    wholly owned investment entity located in the Cayman Islands, Eagle Corporation Limited.
17    Videocon manufactured CRTs for the United States market in Thomson’s former CRT plants in
18    Mexicali, Mexico and China. During the Relevant Period, Videocon manufactured, marketed,
19    sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or
20    affiliates, to customers throughout the United States.
21                   3.      Technologies Displays
22           31.     Defendant Technologies Displays Americas LLC (formerly Thomson Displays
23    Americas LLC) (“TDA”) is a Delaware limited liability company with its principal place of
24    business located at 1778 Carr Road Ste 4B, Calexico, California 92231. TDA is a wholly owned
25    subsidiary of Videocon. TDA acquired Thomson’s U.S. CRT assets in 2005 after a period of
26    cooperation and transition with Thomson entities subsequent to and in connection with the
27    purchase and sale in 2005. TDA was originally formed with its governing members represented
28    equally from both Thomson and Videocon. TDA is owned by Eagle Corp., Ltd. Eagle Corp.,
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 1    Ltd. became a wholly owned subsidiary of Videocon on December 31, 2005, after Videocon
 2    acquired the balance 81% equity stake in Eagle Corp., Ltd. Eagle Corp., Ltd. acquired TDA in
 3    September 2005. In August 2005, Thomson Consumer made a capital contribution to TDA in
 4    the form of a transfer of assets and contract rights related to TDA’s North American CRT
 5    business. TDA is the parent corporation of its co-conspirator, Technologies Displays Mexicana,
 6    S.A. de C.V., a Mexican corporation which during the Relevant Period manufactured CRTs and
 7    sold the CRTs to TDA for sale and distribution.             During the Relevant Period, TDA
 8    manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly
 9    through its subsidiaries or affiliates, to customers throughout the United States. Defendants
10    Thomson and then Videocon dominated and/or controlled the finances, policies, and/or affairs of
11    TDA and its subsidiary Technologies Displays Mexicana, S.A. de C.V., relating to the antitrust
12    violations alleged in this Complaint.           Two high-level Thomson managers—Thomson’s
13    Managing Director of NAFTA Sales, Jack K. Brunk (“Brunk”), and Thomson’s General
14    Manager, James P. Hanrahan (“Hanrahan”)—transitioned to work for TDA after it acquired
15    Thomson’s CRT business. In addition, TDA referred to itself as a “Thomson” business after
16    Videocon’s acquisition of Thomson’s CRT business.             TDA and Technologies Displays
17    Mexicana, S.A. de C.V., are collectively referred to as “Technologies Displays.”
18                     4.       Mitsubishi Entities
19           32.       Defendant Mitsubishi Electric Corporation (“Mitsubishi Electric Japan”) is a
20    Japanese corporation located at Building 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,
21    Japan. Mitsubishi Electric Japan is a Fortune Global 500 Company that was ranked 214 in 2011
22    and that had combined net sales of over $44 billion in 2012. It has various subsidiaries operating
23    in the United States, Mexico, and Canada.          Mitsubishi Electric Japan and its subsidiaries
24    manufactured CRTs in factories located in Japan, Taiwan, Mexico and Canada for sale in the
25    United States.        These CRTs were sold internally to Mitsubishi’s television and monitor
26    manufacturing division and to other television and monitor manufacturers in the United States
27    and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs from other
28    CRT manufacturers.         During the Relevant Period, Mitsubishi Electric Japan manufactured,
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 1    marketed, sold and distributed CRT Products in the United States.
 2           33.     Defendant Mitsubishi Electric & Electronics USA, Inc. (“Mitsubishi Electric
 3    USA”) is a United States corporation located at 5665 Plaza Drive, Cypress, California 90630.
 4    Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan. Mitsubishi
 5    Electric USA manufactured CRTs for the United States market in plants located in Mexicali,
 6    Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs internally to its television
 7    and monitor manufacturing division and to other television and monitor manufacturers in the
 8    United States and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs
 9    from other CRT manufacturers.         During the Relevant Period, Mitsubishi Electric USA
10    manufactured, marketed, sold and distributed CRT Products in the United States.
11           34.     Defendant Mitsubishi Electric Visual Solutions America, Inc. (f/k/a Mitsubishi
12    Digital Electronics America, Inc.) (“Mitsubishi Digital”) is a United States corporation located
13    at 9351 Jeronimo Road, Irvine, California          92618.   Mitsubishi Digital is a wholly-owned
14    subsidiary of Mitsubishi Electric Japan.      During the Relevant Period, Mitsubishi Digital
15    manufactured, marketed, sold and distributed CRT Products in the United States.
16           35.     Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital are
17    collectively referred to herein as “Mitsubishi.”
18           C.      Co-Conspirators
19           36.     Various persons and firms not named as Defendants in this Complaint
20    participated as co-conspirators in the violations alleged herein and performed acts and made
21    statements in furtherance of the conspiracy to fix, raise, stabilize and maintain prices for CRTs.
22    Many of these co-conspirators are named as defendants in the related case Schultze Agency
23    Services, LLC v. Hitachi, Ltd., et al., Individual Case No. 1:11-cv-05529-BMC, filed in the
24    Eastern District of New York and presently pending before this Court (Individual Case No. 3:12-
25    cv-02649-SC, Master File No. 3:07-cv-05944-SC, MDL No. 1917).                 Specific information
26    regarding the identity of these co-conspirators and their participation in the CRT price-fixing
27    conspiracy is set forth in the First Amended Complaint in Schultze Agency Services, LLC v.
28    Hitachi, Ltd., et al. (MDL Doc. No. 1979).
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 1           37.     Co-conspirator Hitachi, Ltd. is a Japanese company with its principal place of
 2    business at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan. Hitachi, Ltd. is the
 3    parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.’s worldwide
 4    market share for color CRTs was 20 percent.             During the Relevant Period, Hitachi, Ltd.
 5    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 6    subsidiaries or affiliates, throughout the United States.
 7           38.     Co-conspirator Hitachi Displays, Ltd. (“Hitachi Displays”) is a Japanese
 8    company with its principal place of business located at 3300 Hayano, Mobara-shi, Chiba-ken,
 9    297-8622, Japan. Hitachi Displays was originally established as Mobara Works of Hitachi, Ltd.
10    in Mobara City, Japan, in 1943. In 2002, all the departments of planning, development, design,
11    manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun off to
12    create a separate company called Hitachi Displays. During the Relevant Period, Hitachi Displays
13    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
14    subsidiaries or affiliates, throughout the United States. Co-conspirator Hitachi, Ltd. dominated
15    and controlled the finances, policies and affairs of Hitachi Displays relating to the antitrust
16    violations alleged in this complaint.
17           39.     Co-conspirator Hitachi America, Ltd. (“Hitachi America”) is a New York
18    company with its principal place of business located at 50 Prospect Avenue, Tarrytown, New
19    York 10591.     Hitachi America is a wholly-owned and controlled subsidiary of Defendant
20    Hitachi, Ltd. During the Relevant Period, Hitachi America manufactured, marketed, sold and/or
21    distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
22    United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
23    affairs of Hitachi America relating to the antitrust violations alleged in this complaint.
24           40.     Co-conspirator Hitachi Asia, Ltd. (“Hitachi Asia”) is a Singaporean company
25    with its principal place of business located at 7 Tampines Grande, #08-01 Hitachi Square,
26    Singapore 528736. Hitachi Asia is a wholly-owned and controlled subsidiary of Defendant
27    Hitachi, Ltd. During the Relevant Period, Hitachi Asia manufactured, marketed, sold and/or
28    distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
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 1    United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
 2    affairs of Hitachi Asia relating to the antitrust violations alleged in this complaint.
 3              41.   Co-conspirator Hitachi Electronic Devices (USA), Inc. (“HEDUS”) is a Delaware
 4    corporation with its principal place of business located at 1000 Hurricane Shoals Road Suite D-
 5    100, Lawrenceville, GA 30043. HEDUS is a subsidiary of Defendant Hitachi, Ltd and Hitachi
 6    Displays. During the Relevant Period, HEDUS manufactured, marketed, sold and/or distributed
 7    CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
 8    States.    Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the
 9    finances, policies and affairs of HEDUS relating to the antitrust violations alleged in this
10    complaint.
11              42.   Co-conspirator Shenzhen SEG Hitachi Color Display Devices, Ltd. (“Hitachi
12    Shenzhen”) was a Chinese company with its principal place of business located at 5001
13    Huanggang Road, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned at
14    least a 25% interesting in Hitachi Shenzhen until November 8, 2007 (which was coincidentally
15    around the time that the government investigations into the CRT industry began). Thus, Hitachi
16    Shenzhen was a member of the Hitachi corporate group for all but the last two weeks of the
17    Relevant Period. During the Relevant Period, Hitachi Shenzhen manufactured, marketed, sold
18    and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
19    throughout the United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and
20    controlled the finances, policies and affairs of Hitachi Shenzhen relating to the antitrust
21    violations alleged in this complaint.
22              43.   Co-conspirators Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi Asia,
23    HEDUS and Hitachi Shenzhen are collectively referred to herein as “Hitachi.”
24              44.   Co-conspirator IRICO Group Corporation (“IGC”) is a Chinese company with its
25    principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province 712021.
26    IGC is the parent company for multiple subsidiaries engaged in the manufacture, marketing,
27    distribution and sale of CRT Products.          During the Relevant Period, IGC manufactured,
28    marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
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 1    affiliates, throughout the United States.
 2           45.        Co-conspirator IRICO Group Electronics Co., Ltd. (“IGE”) is a Chinese company
 3    with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province
 4    712021. IGE is owned by Defendant IGC. According to its website, IGE was the first CRT
 5    manufacturer in China and one of the leading global manufacturers of CRTs. Its website also
 6    claims that in 2003 it was the largest CRT manufacturer in China in terms of production and
 7    sales volume, sales revenue and aggregated profit, and taxation. During the Relevant Period,
 8    IGE manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 9    subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
10    controlled the finances, policies and affairs of IGE relating to the antitrust violations alleged in
11    this complaint.
12           46.        Co-conspirator IRICO Display Devices Co., Ltd. (“IDDC”) is a Chinese company
13    with its principal place of business located at No. 16, Fenghui South Road West, District High-
14    tech Development Zone, Xi’an, SXI 710075. IDDC is a partially-owned subsidiary of co-
15    conspirator IGC. In 2006, IDDC was China’s top CRT maker. During the Relevant Period,
16    IDDC manufactured, marketed, distributed and/or sold CRT Products, either directly or through
17    its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
18    controlled the finances, policies and affairs of IDDC relating to the antitrust violations alleged in
19    this complaint.
20           47.        Co-conspirators IGC, IGE and IDDC are collectively referred to herein as
21    “IRICO.”
22           48.        Co-conspirator LG Electronics, Inc. (“LGEI”) is a corporation organized under
23    the laws of the Republic of Korea with its principal place of business located at LG Twin
24    Towers, 20 Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LGEI is a $48.5
25    billion global force in consumer electronics, home appliances and mobile communications,
26    which established its first overseas branch office in New York in 1968. The company’s name
27    was changed from Gold Star Communications to LGEI in 1995, the year in which it also
28    acquired Zenith in the United States. In 2001, LGEI transferred its CRT business to a 50/50 joint
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 1    venture with co-conspirator Koninklijke Philips Electronics N.V. called LG.Philips Displays
 2    (“LGPD”). On April 1, 2007, LGPD became an independent company and changed its name to
 3    LP Displays International Ltd. During the Relevant Period, LGEI manufactured, marketed, sold
 4    and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 5    throughout the United States.
 6           49.      Co-conspirator LG Electronics USA, Inc. (“LGEUSA”) is a Delaware
 7    corporation with its principal place of business located at 1000 Sylvan Ave., Englewood Cliffs,
 8    New Jersey 07632. LGEUSA is a wholly-owned and controlled subsidiary of co-conspirator
 9    LGEI. During the Relevant Period, LGEUSA manufactured, marketed, sold and/or distributed
10    CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
11    States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of
12    LGEUSA relating to the antitrust violations alleged in this complaint.
13           50.      Co-conspirators LGEI and LGEUSA are collectively referred to herein as “LG
14    Electronics.”
15           51.      Co-conspirator LP Displays International Ltd. f/k/a LGPD (“LP Displays”) is a
16    Hong Kong company located at Corporate Communications, 6th Floor, ING Tower, 308 Des
17    Voeux Road Central, Sheung Wan, Hong Kong. LP Displays is the successor entity to LGPD,
18    which was created in 2001 as a 50/50 joint venture between co-conspirators LGEI and Royal
19    Philips. In March 2007, LP Displays became an independent company. LP Displays is a leading
20    supplier of CRTs for use in television sets and computer monitors with annual sales for 2006 of
21    over $2 billion and a market share of 27%. LP Displays announced in March 2007 that Royal
22    Philips and LGEI would cede control over the company and the shares would be owned by
23    financial institutions and private equity firms.        During the Relevant Period, LP Displays
24    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
25    subsidiaries or affiliates, throughout the United States.
26           52.      Co-conspirator Panasonic Corporation, which was at all times during the Relevant
27    Period known as Matsushita Electric Industrial Co, Ltd. and only became Panasonic Corporation
28    on October 1, 2008, is a Japanese entity located at 1006 Oaza Kadoma, Kadoma-shi, Osaka 571-
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 1    8501, Japan. During the Relevant Period, Panasonic Corporation manufactured, marketed, sold
 2    and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 3    throughout the United States.
 4           53.     Co-conspirator Panasonic Corporation of North America (“PCNA”) is a Delaware
 5    corporation with its principal place of business located at One Panasonic Way, Secaucus, New
 6    Jersey 07094. PCNA is a wholly-owned and controlled subsidiary of co-conspirator Panasonic
 7    Corporation.     During the Relevant Period, PCNA manufactured, marketed, sold and/or
 8    distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
 9    United States. Co-conspirator Panasonic Corporation dominated and controlled the finances,
10    policies and affairs of PCNA relating to the antitrust violations alleged in this complaint.
11           54.     Co-conspirator Matsushita Electronic Corporation (Malaysia) Sdn. Bhd.
12    (“Matsushita Malaysia”) was a Malaysian company with its principal place of business located
13    at Lot 1, Persiaran Tengku Ampuan Section 21, Shah Alam Industrial Site, Shah Alam Malaysia
14    40000. Matsushita Malaysia was a wholly-owned and controlled subsidiary of co-conspirator
15    Panasonic Corporation. Panasonic Corporation transferred Matsushita Malaysia to MT Picture
16    Display Co., Ltd. (“MTPD”), its CRT joint venture with Toshiba Corporation, in 2003. It was
17    re-named MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary
18    of MTPD until its closure in 2006.           During the Relevant Period, Matsushita Malaysia
19    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
20    subsidiaries or affiliates, throughout the United States. Co-conspirator Panasonic Corporation
21    dominated and controlled the finances, policies and affairs of Matsushita Malaysia relating to the
22    antitrust violations alleged in this complaint.
23           55.     Co-conspirators Panasonic Corporation,        PCNA, and Matushita Malaysia are
24    collectively referred to herein as “Panasonic.”
25           56.     Co-conspirator MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba Picture
26    Display Co., Ltd. (“MTPD”) is a Japanese entity located at 1-15 Matsuo-cho, Kadoma-shi,
27    Osaka, 571-8504, Japan. In 2002, Panasonic Corporation entered into a joint venture with co-
28    conspirator Toshiba Corporation called Matsushita Toshiba Picture Display Co., Ltd. to
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 1    manufacture CRTs. Panasonic Corporation was the majority owner with 64.5 percent. On
 2    March 30, 2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint
 3    venture, making Matsushita Picture Display Co., Ltd. a wholly-owned subsidiary of Panasonic
 4    Corporation, and renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD
 5    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 6    subsidiaries or affiliates, throughout the United States.
 7              57.   Co-conspirator Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) is a Chinese
 8    company with its principal place of business located at No. 9 Jiuxianqiao N. Rd., Dashanzi
 9    Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is held by
10    co-conspirator MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co., Ltd.,
11    China National Electronics Import & Export Beijing Company (a China state-owned enterprise),
12    and Beijing Yayunchun Brach of the Industrial and Commercial Bank of China (a China state-
13    owned enterprise).      Formed in 1987, BMCC was Panasonic Corporation’s first CRT
14    manufacturing facility in China. BMCC is the second largest producer of CRTs for televisions in
15    China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed
16    CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
17    States.
18              58.   Co-conspirator Koninklijke Philips Electronics N.V. a/k/a Royal Philips
19    Electronics (“Royal Philips”) is a Dutch company with its principal place of business located at
20    Amstelplein 2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one
21    of the world’s largest electronics companies, with 160,900 employees located in over 60
22    countries. Royal Philips had sole ownership of its CRT business until 2001. In 2001, Royal
23    Philips transferred its CRT business to a 50/50 joint venture with co-conspirator LGEI, forming
24    co-conspirator LGPD (n/k/a LP Displays). In December 2005, as a result of increased pressure
25    on demand and prices for CRT Products, Royal Philips wrote off the remaining book value of
26    126 million Euros of its investment and said it would not inject further capital into the venture.
27    During the Relevant Period, Royal Philips manufactured, marketed, sold and/or distributed CRT
28    Products, either directly or through its subsidiaries or affiliates, throughout the United States.
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 1           59.     Co-conspirator Philips Electronics North America Corporation (“Philips
 2    America”) is a Delaware corporation with its principal place of business located at 1251 Avenue
 3    of the Americas, New York, New York 10020-1104. Philips America is a wholly-owned and
 4    controlled subsidiary of co-conspirator Royal Philips.            During the Relevant Period, Philips
 5    America manufactured, marketed, sold and/or distributed CRT Products, either directly or
 6    through its subsidiaries or affiliates, throughout the United States. Co-conspirator Royal Philips
 7    dominated and controlled the finances, policies and affairs of Philips America relating to the
 8    antitrust violations alleged in this complaint.
 9           60.     Co-conspirator Philips Electronics Industries (Taiwan), Ltd. (“Philips Taiwan”)
10    is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu Street,
11    Nangang District, Taipei, Taiwan.        Philips Taiwan is a subsidiary of co-conspirator Royal
12    Philips.   During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or
13    distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
14    United States. Co-conspirator Royal Philips dominated and controlled the finances, policies and
15    affairs of Philips Taiwan relating to the antitrust violations alleged in this complaint.
16           61.     Co-conspirator Philips da Amazonia Industria Electronica Ltda. (“Philips
17    Brazil”) is a Brazilian company with its principal place of business located at Av Torquato
18    Tapajos 2236, 1 andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a
19    wholly-owned and controlled subsidiary of co-conspirator Royal Philips. During the Relevant
20    Period, Philips Brazil manufactured, marketed, sold and/or distributed CRT Products, either
21    directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator
22    Royal Philips dominated and controlled the finances, policies and affairs of Philips Brazil
23    relating to the antitrust violations alleged in this complaint.
24           62.     Co-conspirators Royal Philips, Philips America, Philips Taiwan and Philips Brazil
25    are collectively referred to herein as “Philips.”
26           63.     Co-conspirator Samsung SDI Co., Ltd. f/k/a Samsung Display Device Company
27    (“Samsung SDI”) is a South Korean company with its principal place of business located at 575
28    Shin-dong, Youngtong-gu, Suwon, South Korea. Samsung SDI is a public company. Samsung
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 1    Electronics Corporation (“SEC”) is a major shareholder of Samsung SDI, holding almost 20
 2    percent of the stock. Founded in 1970, Samsung SDI claims to be the world’s leading company
 3    in the display and energy business, with 28,000 employees and facilities in 18 countries. In
 4    2002, Samsung SDI held a 34.3% worldwide market share in the market for CRTs; more than
 5    any other producer. Samsung SDI has offices in Chicago and San Diego. During the Relevant
 6    Period, Samsung SDI manufactured, marketed, sold and/or distributed CRT Products, either
 7    directly or through its subsidiaries or affiliates, throughout the United States. SEC dominated
 8    and controlled the finances, policies and affairs of Samsung SDI relating to the antitrust
 9    violations alleged in this complaint.
10           64.     Co-conspirator Samsung SDI America, Inc. (“Samsung SDI America”) is a
11    California corporation with its principal place of business located at 3333 Michelson Drive, Suite
12    700, Irvine, California 92612.      Samsung SDI America is a wholly-owned and controlled
13    subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI America
14    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
15    subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
16    dominated and controlled the finances, policies and affairs of Samsung SDI America relating to
17    the antitrust violations alleged in this complaint.
18           65.     Co-conspirator Samsung SDI Mexico S.A. de C.V. (“Samsung SDI Mexico”) is
19    a Mexican company with its principal place of business located at Blvd. Los Olivos, No. 21014,
20    Parque Industrial El Florido, Tijuana, B.C. Mexico. Samsung SDI Mexico is a wholly-owned
21    and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
22    SDI Mexico manufactured, marketed, sold and/or distributed CRT Products, either directly or
23    through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
24    Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI
25    Mexico relating to the antitrust violations alleged in this complaint.
26           66.     Co-conspirator Samsung SDI Brasil Ltda. (“Samsung SDI Brazil”) is a Brazilian
27    company with its principal place of business located at Av. Eixo Norte Sul, S/N, Distrito
28    Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-owned and
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 1    controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
 2    SDI Brazil manufactured, marketed, sold and/or distributed CRT Products, either directly or
 3    through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
 4    Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI Brazil
 5    relating to the antitrust violations alleged in this complaint.
 6           67.     Co-conspirator Shenzhen Samsung SDI Co., Ltd. (“Samsung SDI Shenzhen”) is
 7    a Chinese company with its principal place of business located at Huanggang Bei Lu, Futian Gu,
 8    Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled subsidiary of co-
 9    conspirator Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen manufactured,
10    marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
11    affiliates, throughout the United States. SEC and co-conspirator Samsung SDI dominated and
12    controlled the finances, policies and affairs of Samsung SDI Shenzhen relating to the antitrust
13    violations alleged in this complaint.
14           68.     Co-conspirator Tianjin Samsung SDI Co., Ltd. (“Samsung SDI Tianjin”) is a
15    Chinese company with its principal place of business located at Developing Zone of Yi-Xian
16    Park, Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled
17    subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Tianjin
18    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
19    subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
20    dominated and controlled the finances, policies and affairs of Samsung SDI Tianjin relating to
21    the antitrust violations alleged in this complaint.
22           69.     Co-conspirator Samsung SDI (Malaysia) Sdn. Bhd. (“Samsung SDI Malaysia”)
23    is a Malaysian corporation with its principal place of business located at Lots 635 & 660,
24    Kawasan Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul Khusus,
25    Malaysia. Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of co-conspirator
26    Samsung SDI. During the Relevant Period, Samsung SDI Malaysia manufactured, marketed,
27    sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
28    throughout the United States. SEC and co-conspirator Samsung SDI dominated and controlled
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 1    the finances, policies and affairs of Samsung SDI Malaysia relating to the antitrust violations
 2    alleged in this complaint.
 3            70.      Co-conspirators Samsung SDI, Samsung SDI America, Samsung SDI Mexico,
 4    Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin and Samsung SDI Malaysia
 5    are collectively referred to herein as “Samsung SDI.”
 6            71.      Co-conspirator Samtel Color Ltd. (“Samtel”) is an Indian company with its
 7    principal place of business located at 52, Community Centre, New Friends Colony, New Delhi-
 8    110065. Samtel’s market share for CRTs sold in India is approximately 40%, and it is that
 9    country’s largest exporter of CRT Products. Samtel has gained safety approvals from the United
10    States, Canada, Germany, and Great Britain for its CRT Products. During the Relevant Period,
11    Samtel manufactured, marketed, sold and/or distributed CRT Products, either directly or through
12    its subsidiaries and affiliates, throughout the United States.
13            72.      Co-conspirator Thai CRT Co., Ltd. (“Thai CRT”) is a Thai company located at
14    1/F 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a subsidiary of Siam
15    Cement Group, and it was established in 1986 as Thailand’s first manufacturer of CRTs for color
16    televisions.     During the Relevant Period, Thai CRT manufactured, marketed, sold and/or
17    distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
18    United States.
19            73.      Co-conspirator Toshiba Corporation (“TC”) is a Japanese company with its
20    principal place of business located at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001,
21    Japan. In 2001, TC held a 5 to 10 percent worldwide market share for CRTs used in televisions
22    and in computer monitors. In December 1995, TC partnered with Orion Electronic Co. and two
23    other non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia (“TEDI”) in
24    Indonesia. TEDI was projected to have an annual production capacity of 2.3 million CRTs by
25    1999.    In 2002, TC entered into MTPD, a joint venture with co-conspirator Panasonic
26    Corporation, in which the entities consolidated their CRT businesses. During the Relevant
27    Period, TC manufactured, marketed, sold and/or distributed CRT Products, either directly or
28    through its subsidiaries or affiliates, throughout the United States.
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 1           74.        Co-conspirator Toshiba America, Inc. (“Toshiba America”) is a Delaware
 2    corporation with its principal place of business located at 1251 Avenue of the Americas, Suite
 3    4110, New York, New York 10020.             Toshiba America is a wholly-owned and controlled
 4    subsidiary of co-conspirator TC. During the Relevant Period, Toshiba America manufactured,
 5    marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
 6    affiliates, throughout the United States.       Co-conspirator TC dominated and controlled the
 7    finances, policies and affairs of Toshiba America relating to the antitrust violations alleged in
 8    this complaint.
 9           75.        Co-conspirator Toshiba America Consumer Products, LLC (“TACP”) is a limited
10    liability company that is headquartered at 82 Totowa Rd., Wayne, New Jersey 07470-3114.
11    TACP is a wholly-owned and controlled subsidiary of co-conspirator TC through Toshiba
12    America. During the Relevant Period, TACP manufactured, marketed, sold and/or distributed
13    CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
14    States. Co-conspirator TC dominated and controlled the finances, policies and affairs of TACP
15    relating to the antitrust violations alleged in this complaint.
16           76.        Co-conspirator Toshiba America Electronic Components, Inc. (“TAEC”) is a
17    California corporation with its principal place of business located at 19900 MacArthur
18    Boulevard, Suite 400, Irvine, California 92612.          TAEC is a wholly-owned and controlled
19    subsidiary of co-conspirator TC through Toshiba America. During the Relevant Period, TAEC
20    manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
21    subsidiaries or affiliates, throughout the United States.         Co-conspirator TC dominated and
22    controlled the finances, policies and affairs of TAEC relating to the antitrust violations alleged in
23    this complaint.
24           77.        Co-conspirator Toshiba America Information Systems, Inc. (“TAIS”) is a
25    California corporation with its principal place of business located at 9740 Irvine Blvd., Irvine,
26    California 92618-1697. TAIS is a wholly-owned and controlled subsidiary of co-conspirator TC
27    through Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold
28    and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
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 1    throughout the United States. Co-conspirator TC dominated and controlled the finances, policies
 2    and affairs of TAIS relating to the antitrust violations alleged in this complaint.
 3           78.     Co-conspirator P.T. Tosummit Electronic Devices Indonesia (“TEDI”) was a
 4    CRT joint venture formed by TC, Orion Electronic Co., and two other entities in December
 5    1995. TEDI’s principal place of business was located in Indonesia. TEDI was projected to have
 6    an annual production capacity of 2.3 million CRTs by 1999. In 2003, TEDI was transferred to
 7    co-conspirator MTPD, TC’s joint venture with Panasonic Corporation, and its name was changed
 8    to PT.MT Picture Display Indonesia.          During the Relevant Period, TEDI manufactured,
 9    marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
10    affiliates, throughout the United States.      Co-conspirator TC dominated and controlled the
11    finances, policies, and affairs of TEDI relating to the antitrust violations alleged in this
12    complaint.
13           79.     Co-conspirator Toshiba Display Devices (Thailand) Co., Ltd. (“TDDT”) was a
14    Thai company with its principal place of business located at 142 Moo 5 Bangkok Industrial
15    Estate, Tivanon Road, Pathum Thani, Thailand 12000.              TDDT was a wholly-owned and
16    controlled subsidiary of co-conspirator TC. In 2003, TDDT was transferred to co-conspirator
17    MTPD, TC’s joint venture with Panasonic Corporation. It was re-named MT Picture Display
18    (Thailand) Co., Ltd. and operated as a wholly-owned and controlled subsidiary of MTPD until its
19    closure in 2007.    During the Relevant Period, TDDT manufactured, marketed, sold and/or
20    distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
21    United States. Co-conspirator TC dominated and controlled the finances, policies and affairs of
22    TDDT relating to the antitrust violations alleged in this complaint.
23           80.     Co-conspirators TC, Toshiba America, TACP, TAEC, TAIS, TEDI, and TDDT
24    are collectively referred to herein as “Toshiba.”
25           81.     Co-conspirator Orion Electronic Co. (“Orion”) was a Korean corporation. It filed
26    for bankruptcy in 2004.       Orion was a major manufacturer of CRT Products.                   In 1995,
27    approximately 85% of Orion’s $1 billion in sales was attributed to CRT Products. Orion was
28    involved in CRT Products sales and manufacturing joint ventures and had subsidiaries all over
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 1    the world, including South Africa, France, Indonesia, Mexico, and the United States. Plaintiff is
 2    informed and believes that Orion was wholly owned by the “Daewoo Group.” The Daewoo
 3    Group included Daewoo Electronics Co., Ltd. (“Daewoo Electronics”), Daewoo Telecom Co.,
 4    Daewoo Corporation, and Orion Electronic Components Co.                   The Daewoo Group was
 5    dismantled in or around 1999. Daewoo Electronics and Orion were 50/50 joint venture partners
 6    in an entity called Daewoo-Orion Societe Anonyme (“DOSA”) in France. As of approximately
 7    1996, DOSA produced 1.2 million CRTs annually. Daewoo sold DOSA’s CRT business in or
 8    around 2004.       During the Relevant Period, Orion, Daewoo Electronics, and DOSA
 9    manufactured, marketed, sold and/or distributed CRTs and/or CRT Products, either directly or
10    through their subsidiaries of affiliates, throughout the United States.
11           82.     Co-conspirators Orion, Daewoo Electronics, and DOSA are collectively referred
12    to herein as “Daewoo.”
13           83.     Co-conspirator Chunghwa Picture Tubes, Ltd. (“Chunghwa PT”) is a Taiwanese
14    company with its principal place of business at No. 1127, Heping Rd., Bade City, Taoyuan,
15    Taiwan. It was established in 1971 by Tatung Corporation to manufacture CRTs. In 1974,
16    Chunghwa PT’s CRTs received certification by the United States, giving the company entry into
17    that market. Throughout the Relevant Period, Chunghwa PT was one of the major global CRT
18    manufacturers. During the Relevant Period, Chunghwa PT manufactured, marketed, sold and/or
19    distributed CRT Products, either directly or through its subsidiaries or affiliates (such as its
20    Fuzhou subsidiary), throughout the United States.
21           84.     Co-conspirator Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (“Chunghwa
22    Malaysia”) is a Malaysian company with its principal place of business at Lot I, Subang Hi-Tech
23    Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It is a wholly-
24    owned subsidiary of Chunghwa PT. Chunghwa Malaysia is focused on CRT production, and it
25    has established itself as one of the leading worldwide suppliers of CRTs. During the Relevant
26    Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRT Products,
27    either directly or through its subsidiaries or affiliates, throughout the United States.                Co-
28    conspirator Chunghwa PT dominated and controlled the finances, policies and affairs of
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 1    Chunghwa Malaysia relating to the antitrust violations alleged in this complaint.
 2           85.     Co-conspirators Chunghwa PT and Chunghwa Malaysia are collectively referred
 3    to herein as “Chunghwa.”
 4           86.     Co-conspirator Technologies Displays Mexicana, S.A. de C.V. (“Technologies
 5    Displays Mexicana”), formerly known as Thomson Displays Mexicana, is a Mexican
 6    corporation with its principal place of business located at Calz. Robledo Industrial Colorad,
 7    Mexicali, B.C. 21384, Mexico. Technologies Displays Mexicana is a wholly owned subsidiary
 8    of defendant TDA, which is itself a wholly owned subsidiary of defendant Videocon. During the
 9    Relevant Period, Technologies Displays Mexicana manufactured, marketed, sold and/or
10    distributed CRT Products, either directly or indirectly through subsidiaries or affiliates, to
11    customers throughout the United States. Defendants Thomson SA and later Videocon and TDA
12    dominated and/or controlled the finances, policies and/or affairs of Technologies Displays
13    Mexicana relating to the antitrust violations alleged in this Complaint.
14           87.     Co-conspirator TCL Thomson Electronics Corporation (“TCL Thomson”) is a
15    joint venture formed between Thomson SA and TCL International Holdings Ltd. (“TCL”). TCL
16    Thomson is headquartered at the TCL Building, South Nanhai Road, Nanshan District,
17    Shenzhen, Guangdong, China.         During the Relevant Period, TCL Thomson manufactured,
18    marketed, sold and/or distributed CRT Products, either directly or indirectly through subsidiaries
19    or affiliates, to customers throughout the United States. One of the direct or indirect subsidiaries
20    of TCL Thomson or TCL that manufactured, marketed, sold and/or distributed CRT Products in
21    the United States was TTE Technology, Inc. (“TTE”). Defendant Thomson SA dominated
22    and/or controlled the finances, policies and/or affairs of TCL Thomson and TTE relating to the
23    antitrust violations alleged in this Complaint.
24    IV.    AGENTS
25           88.     The acts alleged against Defendants in this Complaint were authorized, ordered,
26    or done by their officers, agents, employees, or representatives, while actively engaged in the
27    management and operation of Defendants’ businesses or affairs.
28           89.     Each Defendant or co-conspirator acted as the principal, agent, or joint venturer
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 1    of, or for, other Defendants and co-conspirators with respect to the acts, violations, and common
 2    course of conduct alleged by Plaintiff. Each Defendant and co-conspirator that is a subsidiary of
 3    a foreign parent acts as the United States agent for CRTs and/or CRT Products made by its
 4    parent company.
 5              90.   The acts charged in this Complaint have been done by Defendants and their co-
 6    conspirators, or were authorized, ordered or done by their respective officers, agents, employees
 7    or representatives while actively engaged in the management of each Defendant’s or co-
 8    conspirator’s business or affairs.
 9    V.        TRADE AND COMMERCE
10              91.   During the Relevant Period, each Defendant, or one or more of its subsidiaries,
11    sold CRT Products in the United States in a continuous and uninterrupted flow of interstate
12    commerce and foreign commerce, including through and into this judicial district.
13              92.   During the Relevant Period, Defendants and their co-conspirators collectively
14    controlled a vast majority of the market for CRT Products, both globally and in the United
15    States.
16              93.   The business activities of Defendants substantially affected interstate trade and
17    commerce in the United States, caused antitrust injury in the United States, and restrained
18    competition.     The business activities of Defendants also substantially affected trade and
19    commerce in Massachusetts and caused antitrust injuries and restrained competition in
20    Massachusetts.
21    VI.       FACTUAL ALLEGATIONS
22               A.   CRT Technology
23              94.   A CRT has three components: (a) one or more electron guns, each of which is a
24    series of metallic structures used to generate a beam of electrons; (b) a magnetic or other
25    deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that
26    phosphoresces when struck by an electron beam, thereby producing a viewable image. A
27    faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate
28    coated with multiple colors of phosphor produces a polychromatic image. An aperture or
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 1    shadow mask—a thin screen of perforated metal—is welded to the faceplate panel and, to
 2    produce a color image, is coated and rinsed multiple times, leaving a surface of thousands of
 3    narrow lines of red, green, blue and black.
 4           95.     CRT technology was first developed more than a century ago.                   The first
 5    commercially practical CRT television was made in 1931. However, it was not until RCA
 6    Corporation introduced the product at the 1939 World’s Fair that it became widely available to
 7    consumers. After that, CRTs became the heart of most display products, including televisions,
 8    computer monitors, oscilloscopes, air traffic control monitors and ATMs.
 9           96.     The quality of a CRT itself determines the quality of the CRT display. No
10    external control or feature can make up for a poor quality tube. In this regard, the CRT defines
11    the whole CRT product so that the product is often simply referred to as “the CRT.”
12           97.     Although there have been refinements and incremental advancements along the
13    way since then, such as the development of thinner CRTs and CRTs with a flat screen, the CRT
14    technology used today is similar to that RCA unveiled in 1939.
15           98.     CRTs can be subdivided into CDTs and CPTs. As noted above, CPTs are used
16    primarily in televisions and related devices and CDTs are primarily used in computer monitors
17    and similar devices. The primary difference is that CDTs typically yield a higher resolution
18    image requiring more pixels than do CPTs.
19           99.     CRTs have no independent utility, and have value only as components of other
20    products, such as TVs and computer monitors. The demand for CRTs thus directly derives from
21    the demand for such products.
22           100.    The market for CRTs and the market for the products into which they are placed
23    are inextricably linked and intertwined because the CRT market exists to serve the CRT Products
24    markets. The markets for CRTs and CRT Products are, for all intents and purposes, inseparable
25    in that one would not exist without the other.
26           101.    Plaintiff has participated in the market for CRTs through its direct purchases from
27    Defendants of CRT Products containing price-fixed CRTs and its purchases of CRT Products
28    containing price-fixed CRTs indirectly from non-Defendant original equipment manufacturers
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 1    (“OEM”) and others. Defendants’ unlawful conspiracy has inflated the prices at which Plaintiff
 2    bought CRT Products, and Plaintiff has been injured thereby and paid supra-competitive prices
 3    for CRT Products.
 4           102.    Plaintiff has participated in the market for products containing CRTs. To the
 5    extent Plaintiff indirectly purchased CRTs as part of a CRT Product, Defendants’ and their co-
 6    conspirators’ unlawful conspiracy inflated the prices at which OEMs and others resold CRTs in
 7    these products. Plaintiff was not able to pass the inflated prices on to its customers.
 8           103.    Plaintiff has been injured by paying supra-competitive prices for CRT Products.
 9           B.      Structure of the CRT Industry
10           104.    The CRT industry has several characteristics that facilitated a conspiracy,
11    including market concentration, ease of information sharing, the consolidation of manufacturers,
12    multiple interrelated business relationships, significant barriers to entry, heightened price
13    sensitivity to supply and demand forces and homogeneity of products.
14                   1.      Market Concentration
15           105.    During the Relevant Period, the CRT industry was dominated by relatively few
16    companies. In 2004, Samsung SDI, LGPD (n/k/a LP Displays), MTPD, and Chunghwa, together
17    held a collective 78% share of the global CRT market. The high concentration of market share
18    facilitates coordination because there are fewer cartel members among which to coordinate
19    pricing or allocate markets, and it is easier to monitor the pricing and production of other cartel
20    members.
21                   2.      Information Sharing
22           106.    Because of common membership in trade associations, interrelated business
23    arrangements such as joint ventures, allegiances between companies in certain countries and
24    relationships between the executives of certain companies, there were many opportunities for
25    Defendants and co-conspirators to discuss and exchange competitive information. The ease of
26    communication was facilitated by the use of meetings, telephone calls, e-mails and instant
27    messages. Defendants and co-conspirators took advantage of these opportunities to discuss, and
28    agree upon, their pricing for CRTs as alleged below.
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 1                   3.      Consolidation
 2           107.    The CRT industry also had significant consolidation during the Relevant Period,
 3    including but not limited to: (a) the creation of LGPD in 2001, which was a joint venture
 4    involving Philips’ and LG Electronics’ CRT businesses; and (b) the 2002 merger of Toshiba’s
 5    and Panasonic’s CRT businesses into MTPD.
 6                   4.      High Costs of Entry Into the Industry
 7           108.    There are significant manufacturing and technological barriers to entry into the
 8    CRT industry. It would require substantial time, resources and industry knowledge to overcome
 9    these barriers to entry. It is also extremely unlikely that a new producer would enter the market
10    in light of the declining demand for CRT Products.
11           109.    During the Relevant Period, the costs of the assembly components, both as a
12    whole and individually, have been generally declining, and, in some periods, declining at a
13    substantial rate.   A combination of price discussions and manipulation of the output of CRTs
14    allowed Defendants and co-conspirators to keep prices above where they would have been but
15    for the conspiracy.
16                   5.      Homogeneity of CRT Products
17           110.    CRT Products are commodity-like products which are manufactured in
18    standardized sizes.    One Defendant’s CRT Product for a particular application, such as a
19    particular size television set or computer monitor, is substitutable for another’s. Defendants and
20    co-conspirators sold CRTs primarily on the basis of price.
21           111.    It is easier to form and sustain a cartel when the product in question is
22    commodity-like because it is easier to agree on prices to charge and to monitor those prices once
23    an agreement is formed.
24           C.      Pre-Conspiracy Market
25           112.    The genesis of the CRT conspiracy was in the late 1980s as the CRT Products
26    business became more international and Defendants began serving customers that were also
27    being served by other international companies. During this period, the employees of Defendants
28    would encounter employees from their competitors when visiting their customers. A culture of
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 1    cooperation developed over the years and these Defendant employees would exchange market
 2    information on production, capacity and customers.
 3            113.   In the early 1990s, representatives from Samsung SDI, Daewoo, Chunghwa, and
 4    Orion visited each other’s factories in Southeast Asia. During this period, these producers began
 5    to include discussions about price in their meetings.
 6            D.     Defendants’ and Co-Conspirators’ Illegal Agreements
 7            114.   In order to control and maintain profitability during declining demand for CRT
 8    Products, Defendants and their co-conspirators have engaged in a contract, combination, trust or
 9    conspiracy, the effect of which has been to raise, fix, maintain and/or stabilize the prices at which
10    they sold CRTs to artificially inflated levels from at least March 1, 1995 through at least
11    November 25, 2007.
12            115.   The CRT conspiracy was effectuated through a combination of group and bilateral
13    meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions were the
14    primary method of communication and took place on an informal, ad hoc basis. During this
15    period, representatives from Daewoo, LG Electronics and Samsung SDI visited other
16    manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba and Panasonic, to
17    discuss increasing prices for CRTs in general and to specific customers. These meetings took
18    place in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and Singapore. Samsung
19    SDI, LG, and Chunghwa, along with Daewoo, also attended several ad hoc group meetings
20    during this period. The participants at these group meetings also discussed increasing prices for
21    CRTs.
22            116.   As more manufacturers formally entered the conspiracy, group meetings became
23    more prevalent. Beginning in 1997, group meetings occurred in a more organized, systematic
24    fashion, and a formal system of multilateral and bilateral meetings was put in place.
25            117.   The overall CRT conspiracy raised and stabilized worldwide and U.S. prices that
26    Defendants and their co-conspirators charged for CRTs.
27                   1.      “Glass Meetings”
28            118.   The group meetings among the participants in the CRT price-fixing conspiracy
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 1    were referred to as “glass meetings” or “GSM.” Glass meetings were attended by employees at
 2    three general levels of the participant corporations.
 3           119.    The first level meetings were attended by high level company executives
 4    including CEOs, Presidents, and Vice Presidents, and were known as “top” meetings. Top
 5    meetings occurred less frequently, typically quarterly, and were focused on longer term
 6    agreements and forcing compliance with price fixing agreements. Because attendees at top
 7    meetings had authority as well as more reliable information, these meetings resulted in
 8    agreements. Attendees at top meetings were also able to resolve disputes because they were
 9    decision makers who could make agreements.
10           120.    The second level meetings were attended by high level sales managers and were
11    known as “management” meetings.           These meetings occurred more frequently, typically
12    monthly, and handled implementation of the agreements made at top meetings.
13           121.    Finally, the third level meetings were known as “working level” meetings and
14    were attended by lower level sales and marketing employees. These meetings generally occurred
15    on a weekly or monthly basis and were mostly limited to the exchange of information and
16    discussing pricing since the lower level employees did not have the authority to enter into
17    agreements. These lower level employees would then transmit the competitive information up
18    the corporate reporting chain to those individuals with pricing authority. The working level
19    meetings also tended to be more regional and often took place near the conspirators’ factories. In
20    other words, the Taiwanese manufacturers’ employees met in Taiwan, the Korean
21    manufacturers’ employees met in Korea, the Chinese in China, and so on.
22           122.    The Chinese glass meetings began in 1998 and generally occurred on a monthly
23    basis following a top or management level meeting. The China meetings had the principal
24    purpose of reporting what had been decided at the most recent glass meetings to the Chinese
25    manufacturers. Participants at the Chinese meetings included the manufacturers located in
26    China, such as IRICO and BMCC, as well as the China-based branches of other conspirators,
27    including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,
28    and Chunghwa.
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 1           123.   Glass meetings also occurred occasionally in various European countries.
 2    Attendees at these meetings included those conspirators which had subsidiaries and/or
 3    manufacturing facilities located in Europe, including Philips, LG Electronics, LP Displays,
 4    Chunghwa, Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo)
 5    and IRICO. Chunghwa also attended these meetings.
 6           124.   Representatives of the conspirators also attended what were known amongst
 7    members of the conspiracy as “green meetings.” These were meetings held on golf courses. The
 8    green meetings were generally attended by top and management level employees of the
 9    conspirators. During the Relevant Period, glass meetings took place in Taiwan, South Korea,
10    Europe, China, Singapore, Japan, Indonesia, Thailand, Malaysia, and the United States.
11           125.   Participants would often exchange competitively sensitive information prior to a
12    glass meeting. This included information on inventories, production, sales and exports. For
13    some such meetings, where information could not be gathered in advance of the meeting, it was
14    brought to the meeting and shared.
15           126.   The glass meetings at all levels followed a fairly typical agenda.           First, the
16    participants exchanged competitive information such as proposed future CRT pricing, sales
17    volume, inventory levels, production capacity, exports, customer orders, price trends and
18    forecasts of sales volumes for coming months. The participants also updated the information
19    they had provided in the previous meeting. Each meeting had a rotating, designated “Chairman”
20    who would write the information on a white board. The meeting participants then used this
21    information to discuss and agree upon what price each would charge for CRTs to be sold in the
22    following month or quarter. They discussed and agreed upon target prices, price increases, so-
23    called “bottom” prices and price ranges for CRTs. They also discussed and agreed upon prices
24    of CRTs that were sold to specific customers, and agreed upon target prices to be used in
25    negotiations with large customers. Having analyzed the supply and demand, the participants
26    would also discuss and agree upon production cutbacks.
27           127.   During periods of oversupply, the focus of the meeting participants turned to
28    making controlled and coordinated price reductions. This was referred to as setting a “bottom
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 1    price.”
 2              128.   The conspiracy included agreements on the prices at which certain conspirators
 3    would sell CRTs to their own corporate subsidiaries and affiliates that manufactured end
 4    products, such as televisions and computer monitors. The conspirators realized the importance
 5    of keeping the internal pricing to their affiliated OEMs at a high enough level to support the CRT
 6    pricing in the market to other OEMs. In this way, Defendants and their co-conspirators ensured
 7    that all direct purchaser OEMs paid supracompetitive prices for CRTs.
 8              129.   The agreements reached at the glass meetings included:
 9                            a. agreements on CRT prices, including establishing target prices,
10                                “bottom” prices, price ranges and price guidelines;
11                            b. placing agreed-upon price differentials on various attributes of CRTs,
12                                such as quality or certain technical specifications;
13                            c. agreements on pricing for intra-company CRTs sales to vertically
14                                integrated customers;
15                            d. agreements as to what to tell customers about the reason for a price
16                                increase;
17                            e. agreements to coordinate with competitors that did not attend the
18                                group meetings and agreements with them to abide by the agreed-
19                                upon pricing;
20                            f. agreements to coordinate pricing with CRT manufacturers in other
21                                geographic markets such as Brazil, Europe and India;
22                            g. agreements to exchange pertinent information regarding shipments,
23                                capacity, production, prices and customers’ demands;
24                            h. agreements to coordinate uniform public statements regarding
25                                available capacity and supply;
26                            i. agreements to allocate both overall market shares and share of a
27                                particular customer’s purchases;
28                            j. agreements to allocate customers;
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 1                           k. agreements regarding capacity, including agreements to restrict output
 2                               and to audit compliance with such agreements; and
 3                           l. agreements to keep their meetings secret.
 4           130.    Efforts were made to monitor each conspirator’s adherence to these agreements in
 5    a number of ways, including seeking confirmation of pricing both from customers and from
 6    employees of the conspirators themselves. When cheating did occur, it was addressed in at least
 7    four ways: 1) monitoring; 2) attendees at the meetings challenging other attendees if they did not
 8    live up to an agreement; 3) threats to undermine a competitor at one of its principal customers;
 9    and 4) a recognition of a mutual interest in living up to the target price and living up to the
10    agreements that had been made.
11           131.    From 2005-2007 the group glass meetings became less frequent and bilateral
12    meetings again became more prevalent.
13                   2.     Bilateral Discussions
14           132.    Throughout the Relevant Period, the glass meetings were supplemented by
15    bilateral discussions between various Defendants and their co-conspirators.             The bilateral
16    discussions were more informal than the group meetings and occurred on a frequent, ad hoc
17    basis, often between the group meetings. These discussions, usually between sales and marketing
18    employees, took the form of in-person meetings, telephone contacts and emails.
19           133.    During the Relevant Period, in-person bilateral meetings took place in Malaysia,
20    Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand, Brazil,
21    Mexico, and the United States.
22           134.    The purpose of the bilateral discussions was to exchange information about past
23    and future pricing, confirm production levels, share sales order information, confirm pricing
24    rumors, and coordinate pricing with manufacturers in other geographic locations, including
25    Brazil, Mexico, Europe, and the United States.
26           135.    In order to ensure the efficacy of their global conspiracy, Defendants and their co-
27    conspirators also used bilateral meetings to coordinate pricing with CRT manufacturers in Brazil,
28    Mexico, and the United States, such as Philips Brazil, Samsung SDI Brazil and Samsung SDI
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 1    Mexico. These Brazilian and Mexican manufacturers were particularly important because they
 2    served the North American market for CRT Products. As further alleged herein, North America
 3    was the largest market for CRT televisions and computer monitors during the Relevant Period.
 4    Because these manufacturers are all wholly-owned and controlled subsidiaries of Philips and
 5    Samsung SDI, they adhered to the unlawful price-fixing agreements. In this way, Defendants
 6    and their co-conspirators ensured that prices of all CRTs sold in the United States were fixed,
 7    raised, maintained and/or stabilized at supracompetitive levels.
 8           136.    Defendants and co-conspirators also used bilateral discussions with each other
 9    during price negotiations with customers to avoid being persuaded by customers to cut prices.
10    The information gained in these communications was then shared with supervisors and taken
11    into account in determining the price to be offered.
12           137.    Bilateral discussions were also used to coordinate prices with CRT manufacturers
13    that did not ordinarily attend the group meetings, such as Defendant Mitsubishi and co-
14    conspirators Hitachi, Toshiba, Panasonic and Samtel. It was often the case that in the few days
15    following a top or management meeting, the attendees at these group meetings would meet
16    bilaterally with the other conspirators for the purpose of communicating whatever CRT pricing
17    and/or output agreements had been reached during the meeting. For example, Samsung SDI had
18    a relationship with Hitachi and was responsible for communicating CRT pricing agreements to
19    Hitachi. LG Electronics had a relationship with Toshiba and was responsible for communicating
20    CRT pricing agreements to Toshiba. Similarly, Samsung SDI had regular communications with
21    Defendant Mitsubishi. And Thai CRT had a relationship with Samtel and was responsible for
22    communicating CRT pricing agreements to Samtel. Hitachi, Toshiba and Samtel implemented
23    the agreed-upon pricing as conveyed by Samsung SDI, LG Electronics and Thai CRT.                Other
24    times, Hitachi and Toshiba attended the glass meetings. In this way, Hitachi, Toshiba and
25    Samtel participated in the conspiracy to fix prices of CRTs.
26                   3.      Defendants’ and Co-Conspirators’ Participation in Group and
27                           Bilateral Discussions
28                           a. Thomson’s Admitted Participation in the CRT Conspiracy
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 1              138.   Thomson has admitted that it participated in the CRT price-fixing conspiracy. In
 2    its 2011 Annual Report (released in late March 2012), Thomson told its shareholders and the
 3    public:
 4                 On January 9, 2008, Thomson/Technicolor received a request under art 18 (2) of
                   Council Regulation n1/2003 from the European Commission (the “EC”) also
 5                 relating to the CRT industry. Thomson/Technicolor received three further
                   requests for information from the EC on January 16, 2009, January 19, 2009, and
 6
                   September 15, 2009 respectively.               On November 25, 2009,
 7                 Thomson/Technicolor received a Statement of Objections (“SO”) from the
                   European Commission. On March 3, 2010, Thomson/Technicolor filed its
 8                 written response to the “SO.” On May 26 and 27, 2010, Thomson/Technicolor
                   attended an Oral Hearing together with the other parties and the European
 9                 Commission. Thomson/Technicolor stated that it played a minor role in the
                   alleged anticompetitive conduct.
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11    Technicolor Annual Report 2011, at 226 (emphasis added).           While Plaintiff disputes that

12    Thomson’s role in the CRT price-fixing conspiracy was minor and believes the evidence

13    adduced to date demonstrates it was substantial, what cannot be contested is that Thomson by its

14    own admission was one of the conspirators.

15              139.    In December 2012, following an investigation of more than four years, the EC

16    released its finding on the CRT price-fixing conspiracy.        It found that seven companies,

17    including Thomson, participated in cartels lasting “almost ten years, between 1996 and 2006,” to

18    fix the prices of CRTs. The EC concluded that “these companies fixed prices, shared markets,

19    allocated customers between themselves and restricted their output.” The EC official responsible

20    for competition policy described the CRT cartels as “textbook cartels [that] feature all the worst

21    kinds of anticompetitive behavior.” Fines totaling €1,470,515,000 were assessed against the

22    members of the CRT cartels, including a fine of €38,631,000 against Thomson, an amount which

23    was reduced due to Thomson’s cooperation with the EC investigation. The EC investigation

24    found that the CRT cartels “operated worldwide” and were “among the most organized cartels

25    that the Commission has investigated.”

26              140.   After the EC announced its finding that Thomson participated in the CRT price-

27    fixing conspiracy and after Thomson paid the fine imposed by the EC, Thomson again

28    acknowledged its participation in the conspiracy. In its 2012 Annual Report (released in late

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 1    March 2013), Thomson informed its shareholders and the public that “[f]ollowing the European
 2    Commission decision, purchasers may bring individual claims against the Company seeking
 3    compensation for alleged loss suffered as a result of the anti-competitive conduct.” Technicolor
 4    Annual Report 2012, at 216.
 5           141.   Between at least 1995 and 2005, Thomson participated in and/or was a party to
 6    over 15 bilateral meetings and over 25 group meetings, including “green meetings” in the United
 7    States, with the Defendants and co-conspirators in which unlawful agreements as to, inter alia,
 8    price, output restrictions, and/or customer and market allocation of CRTs occurred. These
 9    meetings attended by Thomson occurred in the United States, Europe, Japan, and China, and
10    were also attended by representatives from Samsung SDI, MTPD, LPD, Philips, Toshiba, and
11    Chunghwa, among other co-conspirators.          The purpose of these meetings, and other
12    communications, between Thomson and the co-conspirators was to raise and stabilize the prices
13    and set supply levels of CRTs sold by Thomson and its competitors in North America, including
14    the United States. Documents reflect that these meetings among competitors did not occur in the
15    context of a customer-supplier relationship. Thomson also discussed with competitors CRT
16    prices, production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns,
17    customer allocation, and new product development, including for North American CRTs. A
18    substantial number of these meetings were attended by high level sales, operations, and sourcing
19    managers from Thomson Consumer and/or Thomson SA. In addition to in-person meetings,
20    Thomson also communicated with its competitors over the telephone and by email.                     On
21    information and belief, Plaintiff anticipates additional evidence of Thomson’s conspiratorial
22    meetings and/or communications with the Defendants and co-conspirators will be revealed
23    through discovery of Thomson. As examples of Thomson’s active participation in a conspiracy
24    to fix CRT prices during the Relevant Period:
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17           142.   Thomson SA participated in the conspiracy in its own right and through its wholly
18    owned subsidiary, Thomson Consumer, through at least 2005, and participated thereafter through
19    Videocon, in which it retained a 13.1% ownership stake after selling its CRT business to
20    Videocon in 2005. Thomson SA maintained at least a 10% ownership interest in Videocon
21    throughout the conspiracy period.      Thomson SA never effectively withdrew from this
22    conspiracy.
23           143.   Thomson Consumer directly participated in the conspiracy in the United States,
24    which was Thomson’s largest market for CRTs. Between at least 1995 and 2005, Thomson
25    Consumer knowingly participated in and/or was a party to bilateral and group meetings,
26    including “green meetings” in the United States, in which unlawful agreements as to, inter alia,
27    price, output restrictions, and/or customer and market allocation of U.S.-market CRTs occurred.
28    As examples of Thomson Consumer’s active participation in a conspiracy to fix CRT prices
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28           145.   Thomson Consumer knowingly participated in the conspiracy both in its own
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 1    right and through its parent company Thomson SA, through at least 2005, and participated
 2    thereafter through Videocon, in which Thomson SA maintained at least a 10% ownership interest
 3    throughout the conspiracy period. Thomson Consumer never effectively withdrew from this
 4    conspiracy.
 5                          b.     Videocon’s Participation in the CRT Conspiracy
 6           146.   Upon information and belief, between 2005 and 2007, Videocon participated in
 7    several glass meetings and multiple bilateral meetings with its competitors, continuing the
 8    practice established by Thomson.      These meetings were attended by high level sales and
 9    marketing managers and executives from Videocon, including one Thomson employee who sat
10    on Videocon’s Board of Directors, and by employees who had previously attended meetings on
11    behalf of Thomson.     At these meetings, Videocon discussed such things as CRT prices,
12    production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns, customer
13    allocation, and new product development, and agreed on prices and supply levels for CRT
14    Products. These meetings included discussions in which Videocon shared information with
15    competitors regarding the U.S. market for CRTs. Documents reflect that these meetings among
16    competitors did not occur in the context of a customer-supplier relationship.
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22                        . Videocon never effectively withdrew from this conspiracy.
23                          c.     TDA’s Participation in the CRT Conspiracy
24           147.   TDA was responsible for the sales and marketing of CRT Products in North
25    America on behalf of its parent company, Videocon. Upon information and belief, Videocon
26    dominated and/or controlled the finances, policies and/or affairs of TDA and directed its pricing
27    of CRT Products sold to the North America market.
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 1                                                                              Upon information and
 2    belief, between 2005 and 2007, TDA (originally known as Thomson Displays Americas), and its
 3    wholly owned Mexican subsidiary and co-conspirator Technologies Displays Mexicana,
 4    knowingly participated in conspiracy meetings and/or were parties to the agreements entered at
 5    them, individually and through their parent company Videocon. The prices established by TDA
 6    were, thus, the product of conspiratorial communications between Videocon and TDA and their
 7    co-conspirators.
 8           148.    To the extent Thomson Consumer, TDA, and its Mexican subsidiary and co-
 9    conspirator Technologies Displays Mexicana, distributed CRTs to direct purchasers, they played
10    a significant role in the conspiracy because Defendants wished to ensure that the prices for such
11    products paid by direct purchasers would not undercut the pricing agreements reached at these
12    various meetings. Thus, Thomson Consumer, TDA, and Technologies Displays Mexicana were
13    at those meetings and/or were parties to the agreements and were active, knowing participants in
14    this conspiracy.
15                          d.      Mitsubishi’s Participation in the CRT Conspiracy
16           149.    Between at least 1995 and 2005, Defendant Mitsubishi participated in multiple
17    bilateral and group meetings with its competitors, including but not limited to, co-conspirators
18    Samsung SDI, Toshiba, Chunghwa, and Hitachi. These meetings were attended by high level
19    sales managers and other senior executives from Mitsubishi. At these meetings, Mitsubishi
20    discussed such things as CRT prices, production, future production, revenues, volumes, demand,
21    inventories, estimated sales, plant shutdowns, customer allocation, and new product
22    development, and agreed on prices, customer allocations, and supply levels for CRTs.                  In
23    addition to in-person meetings, Mitsubishi also communicated with its competitors by telephone
24    and email. Examples of Mitsubishi’s active participation in the conspiracy to fix CRT prices
25    during the Relevant Period include, but are not limited to:
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24    All of the above acts, as well as others, were in furtherance of the conspiracy.
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 3                  e.       Co-conspirators’ Participation in the CRT Conspiracy
 4                   151.    Between at least 1996 and 2001, co-conspirator Hitachi, through Hitachi,
 5    Ltd., Hitachi Displays, Hitachi Shenzhen and Hitachi Asia, participated in several glass meetings.
 6    These meetings were attended by high level sales managers from Hitachi. Hitachi also engaged in
 7    multiple bilateral discussions with other participants, particularly with Samsung. Through these
 8    discussions, Hitachi agreed on prices and supply levels for CRTs. Hitachi never effectively
 9    withdrew from this conspiracy.
10           152.    Co-conspirators Hitachi America and HEDUS were represented at those meetings
11    and were a party to the agreements entered at them. To the extent Hitachi America and HEDUS
12    sold and/or distributed CRT Products to direct purchasers, they played a significant role in the
13    conspiracy because Defendants and their co-conspirators wished to ensure that the prices for
14    CRT Products paid by direct purchasers would not undercut the CRT pricing agreements reached
15    at the glass meetings. Thus, Hitachi America and HEDUS were active, knowing participants in
16    the alleged conspiracy.
17           153.    Between at least 1998 and 2007, co-conspirator IRICO, through IGC, IGE and
18    IDDC, participated in multiple glass meetings. These meetings were attended by the highest
19    ranking executives from IRICO. IRICO also engaged in multiple bilateral discussions with other
20    participants, particularly with other Chinese manufacturers. Through these discussions, IRICO
21    agreed on prices and supply levels for CRTs. None of IRICO’s conspiratorial conduct in
22    connection with CRTs was mandated by the Chinese government. IRICO was acting to further
23    its own independent private interests in participating in the alleged conspiracy.
24           154.    Between at least 1995 and 2001, co-conspirator LG Electronics, through LGEI,
25    participated in at least 100 glass meetings at all levels. After 2001, LG Electronics participated
26    in the CRT conspiracy through its joint venture with Philips, LGPD (n/k/a LP Displays). A
27    substantial number of these meetings were attended by the highest ranking executives from LG
28    Electronics. LG Electronics also engaged in bilateral discussions with other participants on a
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 1    regular basis. Through these discussions, LG agreed on prices and supply levels for CRTs. LG
 2    Electronics never effectively withdrew from this conspiracy.
 3           155.    Co-conspirator LGEUSA was represented at those meetings and was a party to
 4    the agreements entered at them. To the extent LGEUSA sold and/or distributed CRT Products, it
 5    played a significant role in the conspiracy because Defendants and their co-conspirators wished
 6    to ensure that the prices for CRT Products paid by direct purchasers would not undercut the CRT
 7    pricing agreements reached at the glass meetings. Thus, LGEUSA was an active, knowing
 8    participant in the alleged conspiracy.
 9           156.    Between at least 2001 and 2006, co-conspirator LP Displays (f/k/a LGPD)
10    participated in at least 100 glass meetings at all levels. A substantial number of these meetings
11    were attended by the highest ranking executives from LP Displays. Certain of these high level
12    executives from LP Displays had previously attended meetings on behalf of LG Electronics and
13    Philips. LP Displays also engaged in bilateral discussions with other participants. Through these
14    discussions, LP Displays agreed on prices and supply levels for CRTs.
15           157.    Between at least 1996 and 2003, co-conspirator Panasonic, through Panasonic
16    Corporation and Matsushita Malaysia, participated in several glass meetings.            After 2003,
17    Panasonic participated in the CRT conspiracy through MTPD, its joint venture with Toshiba.
18    These meetings were attended by high level sales managers from Panasonic and MTPD.
19    Panasonic also engaged in multiple bilateral discussions with other participants. Through these
20    discussions, Panasonic agreed on prices and supply levels for CRTs. Panasonic never effectively
21    withdrew from this conspiracy.
22           158.    PCNA was represented at those meetings and was a party to the agreements
23    entered at them. To the extent PCNA sold and/or distributed CRT Products to direct purchasers,
24    it played a significant role in the conspiracy because Defendants and their co-conspirators
25    wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
26    the CRT pricing agreements reached at the glass meetings. Thus, PCNA was an active, knowing
27    participant in the alleged conspiracy.
28           159.    Between at least 2003 and 2006, co-conspirator MTPD participated in multiple
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 1    glass meetings and in fact led many of these meetings during the latter years of the conspiracy.
 2    These meetings were attended by high level sales managers from MTPD. MTPD also engaged
 3    in bilateral discussions with other participants. Through these discussions, MTPD agreed on
 4    prices and supply levels for CRTs.
 5           160.    Between at least 1998 and 2007, co-conspirator BMCC participated in multiple
 6    glass meetings. These meetings were attended by high level sales managers from BMCC.
 7    BMCC also engaged in multiple bilateral discussions with other participants, particularly the
 8    other Chinese CRT manufacturers. Through these discussions, BMCC agreed on prices and
 9    supply levels for CRTs. None of BMCC’s conspiratorial conduct in connection with CRTs was
10    mandated by the Chinese government. BMCC was acting to further its own independent private
11    interests in participating in the alleged conspiracy.
12           161.    Between at least 1996 and 2001, co-conspirator Philips, through Royal Philips
13    and Philips Taiwan, participated in at least 100 glass meetings at all levels. After 2001, Philips
14    participated in the CRT conspiracy through its joint venture with LG Electronics, LGPD (n/k/a
15    LP Displays). A substantial number of these meetings were attended by high level executives
16    from Philips. Philips also engaged in numerous bilateral discussions with other participants.
17    Through these discussions, Philips agreed on prices and supply levels for CRTs. Philips never
18    effectively withdrew from this conspiracy.
19           162.    Co-conspirators Philips America and Philips Brazil were represented at those
20    meetings and were a party to the agreements entered at them. To the extent Philips America and
21    Philips Brazil sold and/or distributed CRT Products to direct purchasers, they played a
22    significant role in the conspiracy because Defendants and their co-conspirators wished to ensure
23    that the prices for CRT Products paid by direct purchasers would not undercut the CRT pricing
24    agreements reached at the glass meetings. Thus, Philips America and Philips Brazil were active,
25    knowing participants in the alleged conspiracy.
26           163.    Between at least 1995 and 2007, co-conspirator Samsung SDI, through Samsung
27    SDI, Samsung SDI Malaysia, Samsung SDI Shenzhen and Samsung SDI Tianjin, participated in
28    at least 200 glass meetings at all levels. A substantial number of these meetings were attended
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 1    by the highest ranking executives from Samsung SDI. Samsung SDI also engaged in bilateral
 2    discussions with each of the other participants on a regular basis. Through these discussions,
 3    Samsung SDI agreed on prices and supply levels for CRTs.
 4           164.   Co-conspirators Samsung SDI America, Samsung SDI Brazil and Samsung SDI
 5    Mexico were represented at those meetings and were a party to the agreements entered at them.
 6    Thus, Samsung SDI America, Samsung SDI Brazil and Samsung SDI Mexico were active,
 7    knowing participants in the alleged conspiracy.
 8           165.   Between at least 1998 and 2006, co-conspirator Samtel participated in multiple
 9    bilateral discussions with other participants.    These meetings were attended by high level
10    executives from Samtel. Through these discussions, Samtel agreed on prices and supply levels
11    for CRTs. Samtel never effectively withdrew from this conspiracy.
12           166.   Between at least 1997 and 2006, co-conspirator Thai CRT participated in multiple
13    glass meetings. These meetings were attended by the highest ranking executives from Thai
14    CRT. Thai CRT also engaged in multiple bilateral discussions with other participants. Through
15    these discussions, Thai CRT agreed on prices and supply levels for CRTs. Thai CRT never
16    effectively withdrew from this conspiracy.
17           167.   Between at least 1995 and 2003, co-conspirator Toshiba, through TC, TDDT and
18    TEDI, participated in several glass meetings. After 2003, Toshiba participated in the CRT
19    conspiracy through MTPD, its joint venture with Panasonic. These meetings were attended by
20    high level sales managers from Toshiba and MTPD. Toshiba also engaged in multiple bilateral
21    discussions with other participants. Through these discussions, Toshiba agreed on prices and
22    supply levels for CRTs. Toshiba never effectively withdrew from this conspiracy.
23           168.   Co-conspirators Toshiba America, TACP, TAEC and TAIS were represented at
24    those meetings and were a party to the agreements entered at them. To the extent Toshiba
25    America, TACP, TAEC and TAIS sold and/or distributed CRT Products to direct purchasers,
26    they played a significant role in the conspiracy because Defendants and their co-conspirators
27    wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
28    the CRT pricing agreements reached at the glass meetings. Thus, Toshiba America, TACP,
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 1    TAEC and TAIS were active, knowing participants in the alleged conspiracy.
 2           169.    Between at least 1995 and 2006, co-conspirator Chunghwa, through Chunghwa
 3    PT, Chunghwa Malaysia, and representatives from their factories in Fuzhuo (China) and
 4    Scotland, participated in at least 100 glass meetings at all levels. A substantial number of these
 5    meetings were attended by the highest ranking executives from Chunghwa, including the former
 6    Chairman and CEO of Chunghwa PT, C.Y. Lin. Chunghwa also engaged in bilateral discussions
 7    with other participants on a regular basis. Through these discussions, Chunghwa agreed on
 8    prices and supply levels for CRTs.
 9           170.    Between at least 1995 and 2004, co-conspirator Daewoo, through Daewoo
10    Electronics, Orion and DOSA, participated in at least 100 glass meetings at all levels. A
11    substantial number of these meetings were attended by the highest ranking executives from
12    Daewoo. Daewoo also engaged in bilateral discussions with other participants. Through these
13    discussions, Daewoo agreed on prices and supply levels for CRTs.              Bilateral discussions
14    involving Daewoo continued until Orion, its wholly-owned CRT subsidiary, filed for bankruptcy
15    in 2004. Daewoo never effectively withdrew from this conspiracy.
16           171.    When Plaintiff refers to a corporate family or companies by a single name in their
17    allegations of participation in the conspiracy, Plaintiff is alleging that one or more employees or
18    agents of entities within the corporate family engaged in conspiratorial meetings on behalf of
19    every company in that family. In fact, the individual participants in the conspiratorial meetings
20    and discussions did not always know the corporate affiliation of their counterparts, nor did they
21    distinguish between the entities within a corporate family. The individual participants entered
22    into agreements on behalf of, and reported these meetings and discussions to, their respective
23    corporate families. As a result, the entire corporate family was represented in meetings and
24    discussions by their agents and were parties to the agreements reached in them.
25           E.      The CRT Market During the Conspiracy
26           172.    Until the last few years of the CRT conspiracy, CRTs were the dominant
27    technology used in displays, including televisions and computer monitors. During the Relevant
28    Period, this translated into the sale of millions of CRT Products, generating billions of dollars in
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 1    annual profits.
 2           173.       The following data was reported by Stanford Resources, Inc., a market research
 3    firm focused on the global electronic display industry:
 4         Year               Units Sold               Revenue                  Average Selling
                              (millions)               (billion US dollars)     Price Per Unit
 5         1998               90.5                     $18.9                    $208
 6         1999               106.3                    $19.2                    $181
           2000               119.0                    $28.0 1                  $235
 7
             174.       During the Relevant Period, North America was the largest market for CRT TVs
 8
      and computer monitors. According to a report published by Fuji Chimera Research, the 1995
 9
      worldwide market for CRT monitors was 57.8 million units, 28 million of which (48.5 percent)
10
      were consumed in North America. By 2002, North America still consumed around 35 percent of
11
      the world’s CRT monitor supply. See, The Future of Liquid Crystal and Related Display
12
      Materials, Fuji Chimera Research, 1997, p.12.
13
             175.       Defendants’ and co-conspirators’ collusion is evidenced by unusual price
14
      movements in the CRT Product market during the Relevant Period. In the 1990s, industry
15
      analysts repeatedly predicted declines in consumer prices for CRT Products that did not fully
16
      materialize. For example, in 1992, an analyst for Market Intelligent Research Corporation
17
      predicted that “[e]conomies of scale, in conjunction with technological improvements and
18
      advances in manufacturing techniques, will produce a drop in the price of the average electronic
19
      display to about $50 in 1997.”         Despite such predictions, and the existence of economic
20
      conditions warranting a drop in prices, CRT Product prices nonetheless remained stable.
21
             176.       In 1996, another industry source noted that “the price of the 14” tube is at a
22
      sustainable USD50 and has been for some years . . . .”
23
             177.       In early 1999, despite declining production costs and the rapid entry of flat panel
24
      display products, the price of large sized color CRTs actually rose. The price increase was
25
      allegedly based on increasing global demand. In fact, this price increase was a result of the
26
      collusive conduct as herein alleged.
27

28    1
             Estimated market value of CRT units sold.
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 1              178.   After experiencing oversupply of 17” CRTs in the second half of 1999, the
 2    average selling price of CRTs rose again in early 2000. A March 13, 2000 article in Infotech
 3    Weekly quoted an industry analyst as saying that this price increase was “unlike most other PC-
 4    related products.”
 5              179.   A BNET Business Network news article from August 1998 reported that “key
 6    components (cathode ray tubes) in computer monitors have risen in price. ‘Although several
 7    manufacturers raised their CRT prices in the beginning of August, additional CRT price
 8    increases are expected for the beginning of October . . . . While computer monitor price increases
 9    may be a necessary course of action, we [CyberVision, a computer monitor manufacturer] do not
10    foresee a drop in demand if we have to raise our prices relative to CRT price increases.’”
11              180.   A 2004 article from Techtree.com reports that various computer monitor
12    manufacturers, including LG Electronics, Philips and Samsung, were raising the price of their
13    monitors in response to increases in CRT prices caused by an alleged shortage of glass shells
14    used to manufacture the tubes. Philips is quoted as saying that, “It is expected that by the end of
15    September this year [2004] there will be [a] 20% hike in the price of our CRT monitors.”
16              181.   Defendants and co-conspirators also conspired to limit production of CRTs by
17    shutting down production lines for days at a time, and closing or consolidating their
18    manufacturing facilities.
19              182.   For example, CRT factory utilization percentage fell from 90% in the third
20    quarter of 2000 to 62% in the first quarter of 2001. This is the most dramatic example of a drop
21    in factory utilization. There were sudden drops throughout the Relevant Period but to a lesser
22    degree.     Plaintiff is informed and believes that these sudden, coordinated drops in factory
23    utilization by Defendants and co-conspirators were the result of agreements to decrease output in
24    order to stabilize the prices of CRTs.
25              183.   During the latter part of the Relevant Period, while demand in the United States
26    for CRT Products declined, the conspiracy was effective in moderating the normal downward
27    pressures on prices for CRT Products caused by the entry and popularity of the new generation
28    LCD panels and plasma display products.          As Finsen Yu, President of Skyworth Macao
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 1    Commercial Offshore Co., Ltd., a television maker, was quoted in January of 2007: “[t]he CRT
 2    technology is very mature; prices and technology have become stable.”
 3           184.    During the Relevant Period, there were not only periods of unnatural and
 4    sustained price stability, but there were also increases in prices of CRTs and CRT Products.
 5    These price increases were despite the declining demand due to the approaching obsolescence of
 6    CRT Products caused by the emergence of a new, potentially superior and clearly more popular,
 7    substitutable technology.
 8           185.    These price increases and price stability in the market for CRT Products during
 9    the Relevant Period are inconsistent with a competitive market for a product facing rapidly
10    decreasing demand caused by a new, substitutable technology.
11           F.      International Government Antitrust Investigations of the CRT Conspiracy
12           186.    Defendants’ and co-conspirators’ conspiracy to fix, raise, maintain and stabilize
13    the prices of, and restrict output for, CRTs sold in the United States during the Relevant Period,
14    has been and the subject of a multinational investigation commenced by the Antitrust Division of
15    the United States DOJ.
16           187.    Separately, the European Commission and Japan and South Korea’s Fair Trade
17    Commissions also opened investigations into illegal price-fixing of CRTs that were being sold in
18    Europe and Asia.
19           188.    In its 2008 Annual Report, co-conspirator Toshiba reports that “[t]he Group is
20    also being investigated by the [European] Commission and/or the U.S. Department of Justice for
21    potential violations of competition laws with respect to semiconductors, LCD products, cathode
22    ray tubes (CRT) and heavy electrical equipment.”
23           189.    On May 6, 2008, the Hungarian Competition Authority (“HCA”) announced its
24    own investigation into the CRT cartel. The HCA described the cartel as follows:
25                          The Hungarian Competition Authority (Gazdasági Versenyhivatal –
                            GVH) initiated a competition supervision proceeding against the
26                          following undertakings: Samsung SDI Co., Ltd., Samsung SDI
                            Germany GmbH, Samsung SDI Magyarország Zrt., Thomson TDP
27
                            sp. Z.o.o., LG Philips Displays Czech Republic s.r.o.., LP Displays,
28                          Chunghwa Pictures Tubes (UK) Ltd, Chunghwa Pictures Tubes Ltd,
                            Daewoo Orion S.A., Daewoo Electronics Global HQ, Daewoo
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                             Electronics European HQ, MT Picture Display Germany GmbH,
 1
                             Matsushita Global HQ, Matsushita European HQ.
 2
                             Based on the data available the undertakings mentioned above
 3                           concerted their practice regarding the manufacturing and distribution
                             of cathode-ray tubes (including coloured pictures tubes and coloured
 4                           screen tubes) on the European market between 1995 and 2007. The
                             anti-competitive behaviour may have concerned the exchange of
 5
                             sensitive market information (about prices, volumes sold, demand
 6                           and the extent to which capacities were exploited), price-fixing, the
                             allocation of market shares, consumers and volumes to be sold, the
 7                           limitation of output and coordination concerning the production. The
                             undertakings evolved a structural system and functional mechanism
 8                           of cooperation.
 9
                             According to the available evidences it is presumable that the
10                           coordination of European and Asian undertakings regarding to the
                             European market also included Hungary from 1995 to 2007. The
11                           coordination concerning the Hungarian market allegedly formed part
                             of the European coordination. Samsung SDI Magyarország. was
12                           called into the proceeding since it manufactured and sold cathode-
13                           ray tubes in Hungary in the examined period, and it allegedly
                             participated in the coordination between its parent companies.
14
             190.    On February 10, 2009, the DOJ issued a press release announcing that a federal
15
      grand jury in San Francisco had that same day returned a two-count indictment against the
16
      former Chairman and Chief Executive Officer of Chunghwa, Cheng Yuan Lin a/k/a C.Y. Lin, for
17
      his participation in global conspiracies to fix the prices of two types of CRTs used in computer
18
      monitors and televisions. The press release notes that “[t]his is the first charge as a result of the
19
      Antitrust Division’s ongoing investigation into the cathode ray tubes industry.” The press
20
      release further notes that Lin had previously been indicted for his participation in a conspiracy to
21
      fix the prices of TFT-LCDs. Mr. Lin’s indictment states that the combination and conspiracy to
22
      fix the prices of CRTs was carried out, in part, in California.
23
             191.    On August 19, 2009, the DOJ issued a press release announcing that a federal
24
      grand jury in San Francisco had the previous night returned a one-count indictment against Wu
25
      Jen Cheng a/k/a Tony Cheng for his participation in a global conspiracy to fix the prices of
26
      CDTs, the type of CRT used in computer monitors. Tony Cheng formerly was an assistant Vice-
27
      President of Sales and Marketing at Chunghwa. The press release notes that Cheng previously
28

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 1    had been indicted for his participation in a conspiracy to fix the prices of TFT-LCDs. Mr.
 2    Cheng’s indictment states that the combination and conspiracy to fix the prices of CRTs was
 3    carried out, in part, in California.
 4            192.    On March 30, 2010, the DOJ issued a press release announcing that a federal
 5    grand jury in San Francisco had that same day returned a one-count indictment against Chung
 6    Cheng Yeh a/k/a Alex Yeh for his participation in a global conspiracy to fix the prices of CDTs,
 7    the type of CRT used in computer monitors. The press release identifies Yeh as a “former
 8    director of sales” at “a large-Taiwan based color display tube (CDT) manufacturer.”                   The
 9    indictment states that the combination and conspiracy to fix the prices of CRTs was carried out,
10    in part, in California.
11            193.    On November 9, 2010, the DOJ issued a press release announcing that a federal
12    grand jury in San Francisco had that same day returned a one-count indictment against Seung-
13    Kyu Lee a/k/a Simon Lee, Yeong-Ug Yang a/k/a Albert Yang, and Jae-Sik Kim a/k/a J.S. Kim
14    for their participation in a global conspiracy to fix the prices of CDTs, the type of CRT used in
15    computer monitors. The press release identifies Lee, Yang, and Kim as “former executives from
16    two color display tube (CDT) manufacturing companies.”             The indictment states that the
17    combination and conspiracy to fix the prices of CRTs was carried out, in part, in California.
18            194.    On March 18, 2011, the DOJ issued a press release announcing that it had reached
19    an agreement with co-conspirator Samsung SDI in which it would plead guilty and pay a $32
20    million fine for its role in a conspiracy to fix prices of CDTs.
21            195.    Samsung SDI admitted that from at least as early as January 1997 until at least as
22    late as March 2006, it participated in a conspiracy among major CDT producers to fix prices,
23    reduce output, and allocate market shares of CDTs sold in the United States and elsewhere.
24    Samsung SDI admitted that in furtherance of the conspiracy it, through its officers and
25    employees, engaged in discussions and attended meetings with representatives of other major
26    CDT producers. During these discussions and meetings, agreements were reached to fix prices,
27    reduce output, and allocate market shares of CDTs to be sold in the United States and elsewhere.
28    Samsung SDI further admitted that acts in furtherance of the conspiracy were carried in
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 1    California.
 2           196.    The plea agreement of Samsung SDI requires that it cooperate with the DOJ’s
 3    ongoing investigation of federal antitrust and related criminal laws involving the manufacture or
 4    sale of CDTs and CPTs.
 5           197.    As described above, in December 2012 the European Commission announced that
 6    it fined seven companies for participating in cartels to fix the prices of CRTs lasting almost ten
 7    years: Thomson, Samsung SDI, Philips, LG Electronics, Toshiba, Panasonic, and MTPD. The
 8    EC concluded that “the cartelists carried out the most harmful anti-competitive practices
 9    including price fixing, market sharing, customer allocation, capacity and output coordination and
10    exchanges of commercial sensitive information.”
11           G.      Effects of the CRT Conspiracy
12                   1.      Examples of Reductions in Manufacturing Capacity
13           198.    During the Relevant Period, the conspirators conspired to limit production of
14    CRTs by shutting down production lines for days at a time and closing or consolidating
15    manufacturing facilities.
16           199.    In December of 2004, MTPD closed its American subsidiary’s operations in
17    Horseheads, New York, citing price and market erosion. Panasonic announced that the closing
18    was part of the company’s “global restructuring initiatives in the CRT business.” The company
19    further stated that in the future, “CRTs for the North American market will be supplied by other
20    manufacturing locations in order to establish an optimum CRT manufacturing structure.”
21           200.    In July of 2005, LGPD ceased CRT production at its Durham, England facility,
22    citing a shift in demand from Europe to Asia.
23           201.    In December of 2005, MTPD announced that it would close its American
24    subsidiary’s operations in Ohio, as well as operations in Germany, by early 2006. Like LG
25    Philips, the company explained that it was shifting its CRT operations to Asian and Chinese
26    markets.
27           202.    In late 2005, Samsung SDI followed the lead of other manufacturers, closing its
28    CRT factory in Germany.
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 1           203.    In July of 2006, Orion shut down a CRT manufacturing plant in Princeton,
 2    Indiana. The same month, Panasonic announced it was shutting down its CRT factory in
 3    Malaysia and liquidating its joint venture with Toshiba.
 4                   2.     Examples of Collusive Pricing for CRTs
 5           204.    Defendants’ collusion is evidenced by unusual price movements in the CRT
 6    market. In the 1990s, industry analysts repeatedly predicted declines in consumer prices for
 7    CRTs that did not fully materialize. For example, in 1992, an analyst for Market Intelligent
 8    Research Corporation predicted that “[e]conomies of scale, in conjunction with technological
 9    improvements and advances in manufacturing techniques, will produce a drop in the price of the
10    average electronic display to about $50 in 1997.” Despite such predictions, and the existence of
11    economic conditions warranting a drop in prices, CRT prices nonetheless remained stable.
12           205.    In 1996, another industry source noted that “the price of the 14” tube is at a
13    sustainable USD50 and has been for some years . . . .”
14           206.    In reality, prices for CRTs never approached $50 in 1997, and were consistently
15    more than double this price.
16           207.    Despite the ever-increasing popularity of, and intensifying competition from, flat
17    panel monitors, prices for CRT monitors were “stuck stubbornly at high price levels” throughout
18    1995 according to a CNET News.com article. This price stabilization was purportedly due
19    exclusively to a shortage of critical components such as glass. This was a pretext used to conceal
20    the conspiracy.
21           208.    Prices for CRT monitors did fall sharply as a result of the Asian economic crisis
22    of 1998, which severely devalued Asian currencies. This prompted the keynote speaker at Asia
23    Display 1998, an annual conference for the display industry, to state:
24
                     We believe that now is the time to revise our strategic plan in order to
25
                     survive in his tough environment and also to prepare for the coming years.
26
                     This means that we have to deviate from the traditional approach of the
27
                     simple scale up of production volume.
28

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 1              209.   In early 1999, despite declining production costs and the rapid entry of flat panel
 2    display products, the price of large-sized color CRTs actually rose. The price increase was
 3    allegedly based on increasing global demand for the products. In fact, this price rise was the
 4    result of collusive conduct amongst Defendants.
 5              210.   After experiencing an oversupply of 17” CRTs in the second half of 1999, the
 6    average selling price of CRTs rose again in early 2000. A March 13, 2000 article quoted an
 7    industry analyst as saying that this price increase was “unlike most other PC-related products.”
 8              211.   On June 1, 2004, LG Electronics raised the prices of its 15” and 17” CRT
 9    monitors in India. This price hike was falsely attributed exclusively to a shortage of glass
10    needed to manufacture CRTs.
11              212.   Over the course of the Relevant Period, the price of CRTs remained stable, and in
12    some instances went up in an unexplained manner, despite the natural trend in most technology
13    products to go down over time. CRT technology was mature, and the costs of production were
14    relatively low compared to other emerging technologies. As Finsen Yu, President of Skyworth
15    Macao Commercial Off Shore Co., Ltd, a television maker, was quoted as saying in January of
16    2007, “[t]he CRT technology is very mature; prices and technology have become stable.”
17              213.   CRT prices resisted downward price pressures and remained stable over a period
18    of many years. Even in periods of decreasing prices caused by outside factors, such as the Asian
19    currency crisis, the prices of CRT Products did not decline as much as they would have absent
20    the conspiracy. The stability of the price of CRTs was accomplished by the collusive activities
21    alleged above.
22                     3.     Summary Of Effects Of The Conspiracy Involving CRTs
23              214.   The above combination and conspiracy has had the following effects, among
24    others:
25                             a. Price competition in the sale of CRTs by Defendants and their co-
26                                conspirators has been restrained, suppressed and eliminated
27                                throughout the United States;
28                             b. Prices for CRTs in CRT Products sold by Defendants to Plaintiff
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 1                               directly and indirectly have been raised, fixed, maintained and
 2                               stabilized at artificially high and noncompetitive levels throughout the
 3                               United States; and
 4                           c. Plaintiff was deprived of the benefit of free and open competition in
 5                               the purchase of CRT Products.
 6                           d. As a direct and proximate result of the unlawful conduct of
 7                               Defendants, Plaintiff was injured in its business and property in that
 8                               they paid more for CRT Products than it otherwise would have paid in
 9                               the absence of the unlawful conduct of Defendants.
10    VII.   PLAINTIFF’S INJURIES
11           215.    As a purchaser of computer monitors, TVs and other devices that contained
12    CRTs, Plaintiff suffered a direct, substantial and reasonably foreseeable injury as a result of
13    Defendants’ conspiracy to raise, fix, stabilize or maintain the price of CRTs at supra-competitive
14    levels. Defendants’ conspiracy artificially inflated the price of CRTs causing Plaintiff to pay
15    higher prices than it would have in the absence of Defendants’ conspiracy.
16           216.    Plaintiff also purchased CRT Products containing CRTs from OEMs as well as
17    others, which in turn purchased CRTs from Defendants and their co-conspirators. Defendants’
18    conspiracy affected and artificially inflated the price of CRTs purchased by these OEMs and
19    others, which paid higher prices for CRTs than they would have absent the conspiracy. The
20    conspiracy artificially inflated the prices of CRTs included in CRT Products.
21           217.    The OEMs and others passed on to their customers, including Plaintiff, the
22    overcharges caused by Defendants’ conspiracy. Plaintiff was not able to pass on to its customers
23    the overcharges caused by Defendants’ conspiracy. Thus, Plaintiff suffered injury when it
24    purchased CRT Products containing such price-fixed CRTs from the OEMs and others.
25           218.    Once a CRT leaves its place of manufacture, it remains essentially unchanged as
26    it moves through the distribution system. CRTs are identifiable, discrete physical objects that do
27    not change form or become an indistinguishable part of a CRT Product. Thus, CRTs follow a
28    physical chain from Defendants through manufacturers of CRT Products sold to Plaintiff.
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 1            219.   The market for CRTs and the market for CRT Products are inextricably linked
 2    and cannot be considered separately. Defendants are well aware of this intimate relationship.
 3            220.   Throughout the Relevant Period, Defendants and their co-conspirators controlled
 4    the market for CRTs. Consequently, during the Relevant Period, the OEMs had no choice but to
 5    purchase CRTs from Defendants and others at prices that were artificially inflated, fixed and
 6    stabilized by Defendants’ conspiracy.
 7            221.   As a result, Plaintiff was injured in connection with its purchases of CRT
 8    Products during the Relevant Period.
 9    VIII. FRAUDULENT CONCEALMENT
10            222.   Plaintiff had actual or constructive knowledge of the facts supporting its claims
11    for relief despite diligence in trying to discover the pertinent facts. Plaintiff did not discovered,
12    and could not have discovered through the exercise of reasonable diligence, the existence of the
13    conspiracy alleged herein. Defendants engaged in a secret conspiracy that did not give rise to
14    facts that would put Plaintiff on inquiry notice that there was a conspiracy to fix the prices of
15    CRTs.
16            223.   Because Defendants’ agreement, understanding and conspiracy were kept secret,
17    Plaintiff was unaware of Defendants’ unlawful conduct alleged herein and did not know that it
18    was paying artificially high prices for CRT Products.
19            224.   The affirmative acts of Defendants alleged herein, including acts in furtherance of
20    the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.
21    As noted above, Defendants and their co-conspirators organized glass meetings to avoid
22    detection, conducted bilateral meetings in secret and agreed at glass meetings to orchestrate the
23    giving of pretextual reasons for their pricing actions and output restrictions. Defendants and
24    their co-conspirators would coordinate and exchange in advance the texts of the proposed
25    communications with customers containing these pretextual statements and would coordinate
26    which co-conspirator would first communicate these pretextual statements to customers.
27            225.   By its very nature, Defendants’ price-fixing conspiracy was inherently self-
28    concealing.
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 1           226.    Plaintiff could not have discovered the alleged contract, conspiracy or
 2    combination at an earlier date by the exercise of reasonable diligence because of the deceptive
 3    practices and techniques of secrecy employed by Defendants and their co-conspirators to avoid
 4    detection of, and fraudulently conceal, their contract, conspiracy or combination. The contract,
 5    conspiracy or combination as herein alleged was fraudulently concealed by Defendants by
 6    various means and methods, including, but not limited to, secret meetings, surreptitious
 7    communications between Defendants by the use of the telephone or in-person meetings in order
 8    to prevent the existence of written records, discussion on how to evade antitrust laws and
 9    concealing the existence and nature of their competitor pricing discussions from non-
10    conspirators (including customers).
11           227.    Defendants and their co-conspirators agreed not to publicly discuss the existence
12    or nature of the conspiracy or their agreements. Meetings related to CDTs and CPTs were held
13    separately to avoid detection. Participants at glass meetings were also told not to take minutes.
14    Attending companies also reduced the number of their respective attendees to maintain secrecy.
15    During these meetings, top executives and other officials attending these meetings were
16    instructed on more than once occasion not to disclose the fact of these meetings to outsiders, or
17    even to other employees of Defendants not involved in CRT pricing or production. In fact, the
18    top executives who attended conspiracy meetings agreed to stagger their arrivals and departures
19    at such meetings to avoid being seen in public with each other and with the express purpose and
20    effect of keeping them secret.
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17           230.    Defendants also agreed at glass meetings and bilateral meetings to give pretextual
18    reasons for price increases and output reductions to their customers.
19           231.    As alleged above, in early 1999, despite declining production costs and the rapid
20    entry of flat panel display products, the price of large-sized color CRTs actually rose. The price
21    increase was allegedly based on increasing global demand for the products. In fact, this price
22    rise was the result of collusive conduct amongst Defendants, which was undisclosed at the time.
23           232.    As alleged above, despite increased competition from flat panel monitors, prices
24    for CRT monitors were stuck stubbornly at high price levels throughout 2001. This price
25    stabilization was purportedly due exclusively to a shortage of critical components such as glass.
26    This was a pretext used to cover up the conspiracy.
27           233.    In addition, when several CRT manufacturers, including Samsung, Philips and
28    LG Electronics, increased the price of CRTs in 2004, the price hike was blamed on a shortage of
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 1    glass shells use for manufacturing CRT monitors. In justifying this price increase, a Deputy
 2    General Manager for an LG Electronics distributor in India stated, “[t]his shortage [of glass
 3    shells] is a global phenomena and every company has to increase the prices of CRT monitors in
 4    due course of time.”
 5           234.    Manufacturers such as LG Electronics periodically issued press statements falsely
 6    asserting that CRT prices were being driven lower by intense competition.
 7           235.    Plaintiff is informed and believes, and thereon alleges, that the purported reasons
 8    for the price increases of CRTs were materially false and misleading and made for the purpose of
 9    concealing the conspirators anti-competitive scheme as alleged herein.
10           236.    As a result of Defendants’ and their co-conspirators’ fraudulent concealment of
11    their conspiracy, the running of any statute of limitations has been tolled with respect to any
12    claims that Plaintiff has as a result of the anticompetitive conduct alleged in this complaint.
13    IX.    TOLLING
14           237.    As discussed at length in Paragraphs 190-196 above, the United States
15    Department of Justice instituted criminal proceedings and investigations against several
16    participants in the conspiracy commencing on at least February 10, 2009. Plaintiff’s claims were
17    tolled during these criminal proceedings pursuant to 15 U.S.C. § 16.
18           238.    Plaintiff’s claims were tolled under American Pipe & Construction Co. v. Utah,
19    414 U.S. 538 (1974), and related authorities recognizing cross-jurisdictional tolling during the
20    pendency of the Direct Purchaser Class actions asserted against the participants in the CRT
21    price-fixing scheme and commenced on at least November 26, 2007. Plaintiff was a member of
22    the Direct Purchaser Class Actions, including, but not limited to, the following Complaints:
23                          Crago, Inc. v. Chunghwa Picture Tubes, Ltd., et al., No. 3:07-cv-05944-
24                           SC (Dkt. No. 1) (N.D. Cal. Nov. 26, 2007);
25                          Radio & TV Equipment, Inc. v. Chunghwa Picture Tubes, Ltd., No. 2:08-
26                           cv-00542-JAG, (D. N.J. Jan. 28, 2008);
27                          Sound Investments Corp. v. Chunghwa Picture Tubes, Ltd., No. 2:08-cv-
28                           00543-JAG (D. N.J. Jan. 28, 2008); and
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 1                           Direct Purchaser Plaintiffs’ Consolidated Amended Complaint, No. 3:07-
 2                            cv-05944-SC (Dkt. No. 436) (N.D. Cal. Mar. 16, 2009).
 3    X.        CLAIM FOR VIOLATIONS
 4                                            First Claim for Relief
 5                                (Violation of Section 1 of the Sherman Act)
 6              239.   Plaintiff incorporates by reference all the above allegations as if fully set forth
 7    herein.
 8              240.   Beginning no later than March 1, 1995, the exact date being unknown to Plaintiff
 9    and exclusively within the knowledge of Defendants, Defendants and their co-conspirators
10    entered into a continuing contract, combination or conspiracy to unreasonably restrain trade and
11    commerce in violation of Section 1 of the Sherman Act (15 U.S.C. § 1) by artificially reducing or
12    eliminating competition in the United States.
13              241.   In particular, Defendants and their co-conspirators combined and conspired to
14    raise, fix, maintain, or stabilize the prices of CRTs sold in the United States.
15              242.   As a result of Defendants’ unlawful conduct, prices for CRTs were raised, fixed,
16    maintained and stabilized in the United States.
17              243.   The contract, combination or conspiracy among Defendants consisted of a
18    continuing agreement, understanding, and concerted action among Defendants and their co-
19    conspirators.
20              244.   For purposes of formulating and effectuating their contract, combination or
21    conspiracy, Defendants and their co-conspirators did those things they contracted, combined, or
22    conspired to do, including:
23                               a. participating in meetings and conversations to discuss the prices and
24                                  supply of CRTs;
25                               b. communicating in writing and orally to fix target prices, floor prices
26                                  and price ranges for CRTs;
27                               c. agreeing to manipulate prices and supply of CRTs sold in the United
28                                  States in a manner that deprived direct purchasers of free and open
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 1                                 competition;
 2                             d. issuing price announcements and price quotations in accordance
 3                                 with the agreements reached;
 4                             e. selling CRTs to customers in the United States at noncompetitive
 5                                 prices;
 6                             f. exchanging competitively sensitive information in order to facilitate
 7                                 their conspiracy;
 8                             g. agreeing to maintain or lower production capacity; and
 9                             h. providing false statements to the public to explain increased prices
10                                 for CRTs.
11           245.    As a result of Defendants’ unlawful conduct, Plaintiff was injured in its business
12    and property in that it paid more for CRT Products than they otherwise would have paid in the
13    absence of Defendants’ unlawful conduct.
14                                           Second Claim for Relief
15                   (Violation of Massachusetts General Laws Chapter 93A, §§ 2, et seq.)
16           242.    Plaintiff incorporates and realleges, as though fully set forth herein, each and
17    every allegation set forth in the preceding paragraphs of this Complaint.
18           243.    Tweeter was a corporation organized and existing under the laws of the State of
19    Massachusetts and during the Relevant Period, conducted a substantial volume of business in
20    Massachusetts. In particular, Tweeter purchased CRT Products from Defendants and their co-
21    conspirators in Massachusetts; maintained warehouses in Massachusetts containing CRT
22    Products manufactured and sold by Defendants and co-conspirators; and maintained agents and
23    representatives in Massachusetts who sold CRT Products to consumers in Massachusetts and
24    elsewhere. As a result of its presence in Massachusetts and the substantial business it conducted
25    in Massachusetts, Plaintiff is entitled to the protection of the laws of Massachusetts.
26           244.    Beginning at a time presently unknown to Plaintiff, but at least as early as March
27    1, 1995, and continuing thereafter up to and including at least November 25, 2007, Defendants
28    and their co-conspirators committed acts of unfair competition by engaging in a conspiracy to fix
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 1    and stabilize the price of CRTs as described above in violation of Mass. Gen. Laws ch. 93A, §§
 2    2, et seq.
 3               245.   The aforesaid violations consisted, without limitation, of a continuing unlawful
 4    trust and concert of action among Defendants and their co-conspirators, the substantial terms of
 5    which were to fix, raise, maintain and stabilize the price of CRTs.
 6               246.   For the purpose of forming and effectuating the unlawful trust, Defendants and
 7    their co-conspirators have done those things which they combined and conspired to do,
 8    including, but in no way limited to, the actions, practices and course of conduct set forth above
 9    and the following:
10                             a.     to fix, raise, maintain and stabilize the price of CRTs;
11                             b.     to allocate the market for CRTs amongst themselves;
12                             c.     to submit rigged bids for the award and performance of certain
13                                    CRTs contracts; and
14                             d.     to allocate among themselves the production of CRTs.
15               247.   The combination and conspiracy alleged herein has had, inter alia, the following
16    effects:
17                             a.     price competition in the sale of CRTs has been restrained,
18                                    suppressed, and/or eliminated in the states listed below;
19                             b.     prices for CRTs sold by Defendants, their co-conspirators, and
20                                    others have been fixed, raised, maintained and stabilized at
21                                    artificially high, non-competitive levels in the states listed below;
22                                    and
23                             c.     those who purchased CRTs from Defendants, their co- conspirators
24                                    and others and CRT Products containing price-fixed CRTs from
25                                    Defendants, their co-conspirators and others have been deprived of
26                                    the benefits of free and open competition.
27               248.   As a result of the alleged conduct Defendants and their co-conspirators, Plaintiff
28    paid supra-competitive, artificially inflated prices for CRT Products it purchased during the
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 1    Relevant Period.
 2           By reason of the foregoing, Defendants and their co-conspirators have engaged in unfair
 3    competition in violation of Mass. Gen. Laws ch. 93A, §§ 2, et seq.:
 4                          a.     Defendants and their co-conspirators committed acts of unfair
 5                                 competition by engaging in a conspiracy to fix and stabilize the
 6                                 price of CRTs as described above;
 7                          b.     Defendants’     and      their   co-conspirators’     acts,     omissions,
 8                                 misrepresentations, practices and non-disclosures, as described
 9                                 above, constitute a common, continuous and continuing course of
10                                 conduct of unfair competition by means of unfair, unlawful and/or
11                                 fraudulent business acts or practices, including, but not limited to
12                                 violation of Section 1 of the Sherman Act;
13                          c.     Defendants'     and      their   co-conspirators'     acts,     omissions,
14                                 misrepresentations, practices and non-disclosures are unfair,
15                                 unconscionable, unlawful and/or fraudulent independently of
16                                 whether they constitute a violation of the Sherman Act;
17                          d.     Defendants' and their co-conspirators' acts or practices are
18                                 fraudulent or deceptive;
19                          e.     Defendants' and their co-conspirators' conduct was carried out,
20                                 effectuated, and perfected within Massachusetts; and
21                          f.     During the Relevant Period, Tweeter purchased CRT Products
22                                 containing price-fixed CRTs in Massachusetts, and, as a result,
23                                 Tweeter is entitled to the protection of the laws of Massachusetts.
24           250.   Under Massachusetts Consumer Protection Act, Section 9(3), no pre-litigation
25    demand is required when “the prospective respondent does not maintain a place of business or
26    does not keep assets within the commonwealth.”
27           251.    None of the Defendants maintains a place of business in Massachusetts,
28    according to the database of registered corporations maintained by the Secretary of the
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 1    Commonwealth of Massachusetts.
 2           252.   None of the Defendants has asserted that it keeps assets in Massachusetts.
 3           253.   By reason of the foregoing, no Defendant is entitled to any written demand for
 4    relief under Mass. Gen. Laws. ch. 93A § 9.
 5           254.   Despite the fact that no Defendants were entitled to any written demand for relief
 6    under Mass. Gen. Laws. ch. 93A § 9, on August 23, 2013, prior to filing its complaint, Plaintiff
 7    sent a written demand for relief for violations of Massachusetts Gen. Laws ch. 93A §§ 2, et seq.
 8    to most Defendants (“the Demands”). The contents of each of these Demands satisfied the
 9    provisions of Mass. Gen. Laws ch. 93A §§ 2, et seq., including Mass. Gen. Laws ch. 93A § 9,
10    by:
11                          a.     Identifying Plaintiff as the claimant;
12                          b.     Describing the unfair and deceptive practices committed by each
13                                 respective recipient as being comprised, without limitation, of the
14                                 recipient’s engagement in a conspiracy to fix and stabilize the price
15                                 of CRTs in violation of Mass. Gen. Laws. ch. 93A § 2;
16                          c.     Providing the factual background underlying Plaintiff’s assertion
17                                 of an unfair and deceptive practice by stating that each respective
18                                 recipient continued an unlawful trust and concert of action among
19                                 Defendants and their co-conspirators from at least as early as
20                                 March 1, 1995 through at least as late as November 25, 2007, the
21                                 substantial terms of which were to fix, raise, maintain and stabilize
22                                 the price of CRTs;
23                          d.     Identifying the injury suffered by Plaintiff as a result of
24                                 Defendants’ unlawful actions;
25                          e.     Demanding payment for damages suffered as a result of the actions
26                                 of the participants in the CRT price-fixing conspiracy; and
27                          f.     Informing each respective recipient that Mass. Gen. Laws. ch. 93A
28                                 provides an opportunity to respond to the written demand for relief
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 1                                    in good faith within 30 days, and that failure to make a good faith
 2                                    response could subject the recipient to treble damages, attorney’s
 3                                    fees and costs.
 4           255.       None of the Defendants made a good faith response to Plaintiff’s Demands.
 5           256.       By reason of the foregoing, Plaintiff has complied with Mass. Gen. Laws. ch. 93A
 6    § 9 by making a proper written demand for relief upon Defendants, despite the fact that no
 7    Defendants were entitled to any written demand for relief under Mass. Gen. Laws. ch. 93A § 9.
 8    XI.    PRAYER FOR RELIEF
 9           WHEREFORE, Plaintiff prays that the Court enter judgment on its behalf, adjudging and
10    decreeing that:
11                      A.     Defendants engaged in a contract, combination, and conspiracy in
12    violation of Section 1 of the Sherman Act (15 U.S.C. § 1) and Mass. Gen. Laws ch. 93A, §§ 2, et
13    seq., and that Plaintiff was injured in its business and property as a result of Defendants’
14    violations, and that defendants unjustly retained substantial benefits due to such conspiracy;
15                      B.     Plaintiff shall recover damages sustained by it, as provided by the federal
16    and state antitrust laws, and a joint and several judgment in favor of Plaintiff shall be entered
17    against the Defendants in an amount to be trebled in accordance with such laws, including
18    Section 4 of the Clayton Act;
19                      C.     Defendants engaged in a contract, combination, and conspiracy in
20    violation of Mass. Gen. Laws ch. 93A, §§ 2, et seq., and Plaintiff was injured in its business and
21    property as a result of Defendants’ violations;
22                      D.     Plaintiff shall recover damages sustained by it, as provided by Mass. Gen.
23    Laws ch. 93A, §§ 2, et seq., and a joint and several judgment in favor of Plaintiff shall be entered
24    against the Defendants;
25                      E.     Defendants, their subsidiaries, affiliates, successors, transferees, assignees,
26    and the respective officers, directors, partners, agents, and employees thereof, and all other
27    persons acting or claiming to act on their behalf, shall be permanently enjoined and restrained
28    from continuing and maintaining the combination, conspiracy, or agreement alleged herein;
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 1                    F.      Plaintiff shall be awarded pre-judgment and post-judgment interest, and
 2    such interest shall be awarded at the highest legal rate from and after the date of service of the
 3    initial complaint in this action;
 4                    G.      Plaintiff shall recover its costs of this suit, including reasonable attorneys’
 5    fees as provided by law; and
 6                    H.      Plaintiff shall receive such other or further relief as may be just and proper.
 7    XII.    JURY TRIAL DEMAND
 8            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of all
 9    the claims asserted in this Complaint so triable.
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12    Dated: December 20, 2013
                                                     /s/ Philip J. Iovieno
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